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                                                                         2021 Sep-30 PM 03:32
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ALABAMA
                            NORTHWESTERN DIVISION

CHRISTOPHER OGLETREE,                   )
                                        )
             Plaintiff                  )
                                        )
      vs.                               ) Case No. 3:18-cv-01218-HNJ
                                        )
COLBERT COUNTY, ALABAMA,                )
et al.,                                 )
                                        )
             Defendants                 )


TERRY RUSHING ALEXANDER,                )
                                        )
             Plaintiff                  )
                                        )
      vs.                               ) Case No. 3:18-cv-01296-HNJ
                                        )
COLBERT COUNTY, ALABAMA,                )
et al.,                                 )
                                        )
             Defendants                 )

WILLIAM R. HARGROVE, as the             )
Administrator of the Estate of Daniel   )
Hargrove,                               )
                                        )
             Plaintiff                  )
                                        )
      vs.                               ) Case No. 3:18-cv-01382-HNJ
                                        )
COLBERT COUNTY, ALABAMA,                )
et al.,                                 )
                                        )
             Defendants                 )
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WILLIAM J. KRYSTON, III,                        )
                                                )
              Plaintiff                         )
                                                )
       vs.                                      ) Case No. 3:18-cv-01755-HNJ
                                                )
COLBERT COUNTY, ALABAMA,                        )
et al.,                                         )
                                                )
              Defendants                        )

TIMMIE JAMES,                                   )
                                                )
              Plaintiff                         )
                                                )
       vs.                                      ) Case No. 3:20-cv-00333-HNJ
                                                )
COLBERT COUNTY, ALABAMA,                        )
et al.,                                         )
                                                )
              Defendants                        )

                    MEMORANDUM OPINION AND ORDER

       Christopher Ogletree, Terry Alexander, Daniel Hargrove,1 William Kryston, and

Timmie James all suffered assaults by other inmates while detained in the Colbert

County, Alabama, jail. They sued Colbert County, the Colbert County Sheriff, and the

Colbert County Jail Administrator pursuant to 42 U.S.C. § 1983 for deliberate



1
 Daniel Hargrove, the original plaintiff in 3:18-cv-01382-HNJ, died on April 24, 2020 (Doc. 68 in
3:18-cv-01382-HNJ), and on April 15, 2021, the court substituted William R. Hargrove, the
Administrator of the Estate of Daniel Hargrove, as Plaintiff. (Doc. 94 in 3:18-cv-01382-HNJ).
                                                  2
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indifference in those Defendants’ failure to protect Plaintiffs from an unreasonable risk

of serious harm under the Fourteenth Amendment to the U.S. Constitution.

       During the time period pertinent to the claims of Plaintiffs Ogletree and

Alexander, DeShannon Bowling served as Jail Administrator, so those Plaintiffs named

Bowling as a Defendant. During the time period pertinent to the claims of Plaintiffs

Hargrove, Kryston, and James, Marcus Rutland served as Jail Administrator, so those

Plaintiffs named Rutland as a Defendant instead of Bowling.2 During the time period

relevant to all Plaintiffs’ claims, Frank Williamson served as the Colbert County Sheriff,

so all Plaintiffs named Williamson as a Defendant. (See Doc. 25 in 3:18-cv-01218-HNJ;

Doc. 34 in 3:18-cv-01296-HNJ; Doc. 26 in 3:18-cv-01382-HNJ; Doc. 1 in 3:18-cv-

01755-HNJ; Doc. 1 in 3:20-cv-00333-HNJ).3


2
  Plaintiffs Ogletree and Alexander spelled Bowling’s first name “DeShawn” in their pleadings, but
Bowling states the correct spelling is “DeShannon,” and Plaintiffs have not disputed that amendment.
See Doc. 85-47, ¶ 1 (“I am a Defendant in the cases filed by Christopher Ogletree and Terry Alexander,
although I am misidentified as ‘DeShawn’ Bowling.”). Bowling served as Jail Administrator from
2015 to June of 2017, when Rutland took over the position. (See id. ¶ 2; Doc. 85-43, at 11; Doc. 85-
44, ¶ 2).
3
  Plaintiffs Ogletree, Alexander, Hargrove, and Kryston also asserted other claims they have since
conceded. They asserted § 1983 claims for denial of care for a serious medical need against
Williamson, Bowling, Rutland, Quality Correctional Health Care, Inc. (“QCHC”), the entity that
contracted with the Jail to provide medical care to its detainees, and three employees of QCHC,
Donald Kern, Johnny Bates, and Brenda Lawler. Alexander also asserted such a claim against Heath
Halcomb, another jailer. Ogletree, Alexander, Hargrove, and Kryston asserted state law claims for
medical negligence against QCHC and its employees. Hargrove asserted claims against Sheriff
Williamson for violations of the Americans with Disabilities Act and the Rehabilitation Act. (See Doc.
25 in 3:18-cv-01218-HNJ; Doc. 34 in 3:18-cv-01296-HNJ; Doc. 26 in 3:18-cv-01382-HNJ; Doc. 1 in
3:18-cv-01755-HNJ). Ogletree, Alexander, Hargrove, and Kryston agreed to the dismissal of their
claims against QCHC and its employees, and the court dismissed those claims on March 30, 2021.
(Docs. 92, 94 in 3:18-cv-01218-HNJ; Docs. 98, 100 in 3:18-cv-01296-HNJ; Docs. 87, 89 in 3:18-cv-
                                                 3
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       Plaintiff Alexander also asserted his failure to protect claim against individual

jailers Heath Halcomb and Marcus Rutland (who served as a jailer during Alexander’s

incarceration, before he became Jail Administrator). (See Doc. 34 in 3:18-cv-01296-

HNJ). Plaintiffs sued all individual defendants in their respective personal capacities.

(See Doc. 25 in 3:18-cv-01218-HNJ, ¶ 22; Doc. 34 in 3:18-cv-01296-HNJ, ¶ 25; Doc.

26 in 3:18-cv-01382-HNJ, ¶ 21; Doc. 1 in 3:18-cv-01755-HNJ, ¶ 21; Doc. 1 in 3:20-cv-

00333-HNJ, ¶ 17). The court consolidated these actions pursuant to Federal Rule of

Civil Procedure 42(a) at the behest of the parties.

       Defendants Colbert County, Williamson, Bowling, Rutland, and Halcomb filed

motions for summary judgment in their favor on Plaintiffs’ failure to protect claims.

(Doc. 86 in 3:18-cv-01218-HNJ; Doc. 92 in 3:18-cv-01296-HNJ; Doc. 81 in 3:18-cv-

01382-HNJ; Doc. 72 in 3:18-cv-01755-HNJ; Doc. 27 in 3:20-cv-00333-HNJ).

Plaintiffs filed a consolidated response to those motions (Docs. 91, 93 in 3:18-cv-01218-

HNJ; Docs. 97, 99 in 3:18-cv-01296-HNJ; Docs. 86, 88 in 3:18-cv-01382-HNJ; Docs.


01382-HNJ; Docs. 78, 80 in 3:18-cv-01755-HNJ). The court entered partial final judgment on the
claims against QCHC and its employees on June 24, 2021. (Doc. 104 in 3:18-cv-01218-HNJ; Doc.
110 in 3:18-cv-01296-HNJ; Doc. 102 in 3:18-cv-01382-HNJ; Doc. 90 in 3:18-cv-01755-HNJ).
Plaintiffs also “agree to the dismissal of plaintiffs’ medical care and ADA claims against the Colbert
County defendants,” so the court will dismiss those claims. (Doc. 93 in 3:18-cv-01218-HNJ, at 9 n.1;
Doc. 99 in 3:18-cv-01296-HNJ, at 9 n.1; Doc. 88 in 3:18-cv-01382-HNJ, at 9 n.1; Doc. 79 in 3:18-cv-
01755-HNJ, at 9 n.1; Doc. 34 in 3:20-cv-00333-HNJ, at 9 n.1). Moreover, as discussed, Plaintiffs’
summary judgment response brief abandons all claims against individual jailers Halcomb and Rutland
(not in his capacity as Jail Administrator) for failure to protect, and all claims in these actions for
declaratory and injunctive relief. Those concessions leave only Plaintiffs’ § 1983 claims for money
damages against Colbert County, Sheriff Williamson, and Jail Administrators Bowling and Rutland for
an excessive risk of inmate violence.
                                                     4
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77,79 in 3:18-cv-01755-HNJ; Docs. 33-34 in 3:20-cv-00333-HNJ), and Defendants filed

separate replies in each case. (Doc. 99 in 3:18-cv-01218-HNJ; Doc. 105 in 3:18-cv-

01296-HNJ; Doc. 97 in 3:18-cv-01382-HNJ; Doc. 85 in 3:18-cv-01755-HNJ; Doc. 39

in 3:20-cv-00333-HNJ).

       As discussed more fully below, the court will deny summary judgment on

Defendants Williamson, Rutland, and Bowling’s qualified immunity defense to

Plaintiffs’ claims.   Pursuant to Plaintiffs’ contentions, the Colbert County Jail

manifested an excessive risk of inmate-on-inmate violence, along with persistent

overcrowding; the specific risks posed by capital murder suspects; deficiencies in inmate

classification; deficiencies in inmate discipline; and deficiencies in staffing and inmate

monitoring. Plaintiffs also maintain Defendants were deliberately indifferent to these

features of the jail, and such conditions, and the indifference thereto, caused the assaults

they suffered.

       If Sheriff Williamson’s and his Jail Administrators’ representations bear veracity,

they have taken laudable efforts to address an alleged, excessive risk of inmate-on-

inmate violence at the Colbert County Jail. In particular, the Defendants would have

commendably accomplished their undertaking while supervising an admittedly

overcrowded jail that all stakeholders agree needs replacement, a factor over which

Williamson, Rutland, and Bowling have no control.


                                             5
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       However, the record evidence yields genuine disputes of material fact whether

the Defendants failed to reasonably respond to an alleged, excessive risk of inmate

violence of which they were aware. In this posture, the court cannot resolve the

disputed issues of fact, as resolution in Plaintiffs’ favor could engender a reasonable

factfinder at trial to rule in their favor. Therefore, the court will deny the Defendants’

motions for summary judgment in these consolidated cases as to Defendants

Williamson, Rutland, and Bowling. However, in all other respects, the court will grant

Defendants’ motions for summary judgment.

                             STANDARD OF REVIEW

       Pursuant to the Federal Rules of Civil Procedure, “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). The party seeking summary judgment bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those portions

of the pleadings, depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, which it believes demonstrate the absence of a

genuine issue of material fact. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir.

1991) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

       If the movant sustains its burden, a non-moving party demonstrates a genuine

issue of material fact by producing evidence by which a reasonable fact-finder could
                                             6
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return a verdict in its favor. Greenberg v. BellSouth Telecomms., Inc., 498 F.3d 1258, 1263

(11th Cir. 2007) (citation omitted).       The non-movant sustains this burden by

demonstrating “that the record in fact contains supporting evidence, sufficient to

withstand a directed verdict motion.” Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116

(11th Cir. 1993).    In the alternative, the non-movant may “come forward with

additional evidence sufficient to withstand a directed verdict motion at trial based on

the alleged evidentiary deficiency.” Id. at 1116-17; see also Doe v. Drummond Co., 782

F.3d 576, 603-04 (11th Cir. 2015), cert. denied, 136 S. Ct. 1168 (2016).

       The “court must draw all reasonable inferences in favor of the nonmoving party,

and it may not make credibility determinations or weigh the evidence.” Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000) (citations omitted).

“‘Credibility determinations, the weighing of the evidence, and the drawing of legitimate

inferences from the facts are jury functions, not those of a judge.’” Id. (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)). “Thus, although the court

should review the record as a whole, it must disregard all evidence favorable to the

moving party that the jury is not required to believe.” Reeves, 530 U.S. at 151 (citation

omitted). “That is, the court should give credence to the evidence favoring the

nonmovant as well as that ‘evidence supporting the moving party that is uncontradicted

and unimpeached, at least to the extent that that evidence comes from disinterested

witnesses.’” Id. (citation omitted).
                                             7
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       Rule 56 “mandates the entry of summary judgment, after adequate time for

discovery and upon motion, against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322. “In such a

situation, there can be ‘no genuine issue as to any material fact,’ since a complete failure

of proof concerning an essential element of the nonmoving party’s case necessarily

renders all other facts immaterial.” Id. at 322-23. In addition, a movant may prevail

on summary judgment by submitting evidence “negating [an] opponent’s claim,” that is,

by producing materials disproving an essential element of a non-movant’s claim or

defense. Id. at 323 (emphasis in original).

       There exists no issue for trial unless the nonmoving party submits evidence

sufficient to merit a jury verdict in its favor; if the evidence is merely colorable or is not

significantly probative, summary judgment may be granted. Anderson, 477 U.S. at 249.

The movant merits summary judgment if the governing law on the claims or defenses

commands one reasonable conclusion, id. at 250, but the court should deny summary

judgment if reasonable jurors “could return a verdict for the nonmoving party.” Id. at

248. That is, a court should preserve a case for trial if there exists “sufficient evidence

favoring the nonmoving party for a jury to return a verdict for that party.” Id. at 249.




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                                         BACKGROUND

        The undersigned sets forth the following facts for the summary judgment

determination, drawn from the evidence taken in the light most favorable to Plaintiffs.4

I.      The Colbert County Jail

        Colbert County constructed its jail in 1962. (Doc. 85-49, ¶ 4). The third floor

of the jail houses all inmates and contains four, general population cell blocks:

Southeast; Northeast; Southwest; and Northwest. Each cell block contains cells with

multiple bunks and a common area, or “bull pen.” Walls separate the cell blocks, such

that the inmates in each block do not have contact with inmates in the other blocks.

A catwalk area outside the cell blocks allows officers to conduct some monitoring.




4
 For efficiency, unless otherwise noted, when citing the record to support the relevant facts, the court
will refer only to the evidentiary submissions in the first filed case, 3:18-cv-01218-HNJ. Defendants’
consolidated evidentiary submission in that case is Doc. 85. That corresponds to Doc. 91 in 3:18-cv-
01296-HNJ, Doc. 80 in 3:18-cv-01382-HNJ, Doc. 71 in 3:18-cv-01755-HNJ, and Doc. 30 in 3:20-cv-
00333-HNJ. Plaintiffs’ consolidated evidentiary submission in 3:18-cv-01218-HNJ is Doc. 91, which
corresponds to Doc. 97 in 3:18-cv-01296-HNJ, Doc. 86 in 3:18-cv-01382-HNJ, Doc. 77 in 3:18-cv-
01755, and Doc. 33 in 3:20-cv-00333-HNJ.
         For the same reasons, unless otherwise noted, when citing the parties’ briefs, the court will
refer to briefs in the first filed case, 3:18-cv-01218-HNJ. Defendants’ initial brief in that case is Doc.
88, which corresponds to Doc. 94 in 3:18-cv-01296-HNJ, Doc. 83 in 3:18-cv-01382-HNJ, Doc. 74 in
3:18-cv-01755-HNJ, and Doc. 29 in 3:20-cv-00333-HNJ. Plaintiffs’ response brief is Doc. 93 in 3:18-
cv-01218-HNJ, which corresponds to Doc. 99 in 3:18-cv-01296-HNJ, Doc. 88 in 3:18-cv-01382-HNJ,
Doc. 79 in 3:18-cv-01755-HNJ, and Doc. 34 in 3:20-cv-00333-HNJ. Defendants’ reply brief is Doc.
99 in 3:18-cv-01218-HNJ, which corresponds to Doc. 105 in 3:18-cv-01296-HNJ, Doc. 97 in 3:18-cv-
01382-HNJ, Doc. 85 in 3:18-cv-01755-HNJ, and Docs. 39 & 45 in 3:20-cv-00333-HNJ. Defendants’
opening briefs differ slightly according to the particular facts addressing the Plaintiff in each case, but
none of those differences involve any of the cited portions. Plaintiffs’ response briefs and
Defendants’ reply briefs are the same in each case.

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       The jail also contains four “J-cells,” so called because they previously housed

juvenile offenders. At the time of the relevant events, the J-cells could house four

inmates each, and officers used the cells to isolate sex offenders. (Doc. 85-44, ¶¶ 3-4;

Doc. 85-47, ¶¶ 3-4; Doc. 85-49, ¶¶ 4-5; Doc. 85-50, at 2). Now, officers use the J-cells

to house particularly violent or problematic inmates together, as long as those inmates

do not face charges in the same criminal case. (Doc. 85-41, at 20, Doc. 85-43, at 38;

Doc. 85-45, at 42, 44).

       The jail also contains two temporary holding cells, or “drunk tanks,” which could

house four inmates each. Officers designate those cells “DC-1” and “DC-2,” and they

sometimes use them to isolate inmates for disciplinary reasons because the cells lack

privacy and do not contain a television like the general population cell blocks do.

Finally, the jail contains a sick bay cell and a separate cell for inmate workers, or

“trusties.” (Doc. 85-44, ¶¶ 3-4; Doc. 85-47, ¶¶ 3-4; Doc. 85-49, ¶¶ 4-5; Doc. 85-50, at

2). However, deposition testimony indicates that the jail primarily used the drunk

tanks to detain individuals with mental health issues. (Doc. 85-41 at 28-29; Doc. 85-

48 at 51).

II.    The May 2016 NIJO Report

       Shortly after taking office in January 2015, Sheriff Williamson asked the National

Institute of Jail Operations (NIJO) to inspect the jail and provide suggestions for


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improvement. (Doc. 85-49, ¶ 20). The NIJO inspectors conducted a site visit on

March 15-16, 2016, and they issued a report on May 30, 2016.5

        The report observed the following with regard to inmate management:

                In order to properly manage inmates and ensure the security, safety,
        order and control of the jail, it is imperative to properly house, classify,
        discipline and observe the inmates from the moment they enter the jail
        until the moment they exit the jail.

            • On the dates of the inspection process, the jail exceeded designated
              capacity and inmates were being held in the drunk-tank instead of
              being housed in cells. When capacity is exceeded, especially
              routinely, the jail risks compromising safety, security, order,
              discipline, ensuring adequate health care, food service, sanitation,
              exercise, or other essential inmate services . . . . Additionally,
              potential inmate-on-inmate violence may occur, which could bring
              the county into potential liability risks . . . .

                ....

            • Because of the population levels exceeding capacity, the lack of
              cells and beds available, the types of cells and the available
              manpower, classification is almost non-existent. Inmates are
              housed according to their current charges, medical conditions, etc.

5
  The parties had not raised any hearsay issues as to the reliance upon this report as evidence. To the
extent the report garners such a challenge, it may be exempted from the hearsay rule as Sheriff
Williamson adopted the statements therein based upon his assertion he implemented its
recommendations (see Doc. 105 at 13 (citing Doc. 85-61 at 16-22)). See Fed. R. Evid. 801(d)(2)(B) (a
statement is not hearsay if it “is offered against an opposing party” and “is one the party manifested
that it adopted or believed to be true.”); Pilgrim v. Trs. of Tufts Coll., 118 F.3d 864, 870 (1st Cir. 1997)
(employer who followed recommendations of grievance committee had adopted committee’s report
because “adoptive party accepted and acted upon the evidence.”); Wright-Simmons v. City of Oklahoma
City, 155 F.3d 1264, 1268-69 (10th Cir. 1998) (employer who forced employee to resign based on
investigative report and attached witness interview notes had adopted report and notes); 5
Weinstein’s Federal Evidence § 801.31 (2021) (“A party may adopt a written statement if the party
uses the statement or takes action in compliance [with] the statement.”) (footnotes omitted).

In addition, the report may meet the business records exception of Federal Rule of Evidence 803(6).
                                                 11
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          Staff try to consider any known violent tendencies, gang affiliations
          or conflicts with other inmates, all depending on the available space
          in each housing area. The inability to properly classify inmates
          places inmates at risk of being housed with other inmates who may
          assault or otherwise take advantage of them.

      • Inmate discipline is also very difficult to manage as there are no
        holding cells available for lock down or segregation purposes.
        While onsite, line level staff admitted the lack of inmate discipline,
        stating there was nothing they could do because there were little
        enforceable consequences that matter to the offending inmate who
        violates rules.

      • Most sanctions of the disciplinary system are unavailable to use for
        correction purposes. Considering the fact that televisions and
        telephones are located in the cell areas, visitation happens in the
        hallways with all inmates at once, and recreation yards do not exist,
        commissary privileges are the only thing which could be taken away
        from the inmates for disciplinary violations. However, with the
        lack of classification, this too would be ineffective as commissary
        could be obtained from other inmates. Because of all of these
        issues, an effective disciplinary system is not in place. Accordingly,
        disciplinary hearings, temporary restrictions and administrative
        segregation are not being utilized.

(Doc. 85-60, at 15-16).

   The report also states the following with regard to Inmate Security and Control:

          The duty to protect inmates from harming themselves and from
   being harmed by others must be accomplished while maintaining the
   legitimate penological interests of the jail including safety and security.
   This includes facility access, perimeter control, weapon control, key
   control, tool control, complete supervision and surveillance, staffing,
   contraband control, searches, use of force, use of restraints and emergency
   planning. As noted, there were 32 documented use of force incidents in
   2015. While there are elements of security in place, the following
   observations were noted during the inspection presenting significant
   security and safety risks, many of which are related to insufficient staffing
                                        12
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       levels, available resources and budget, the physical design of the facility,
       and limited administrative and staff training.

           • Staffing levels are inadequate given the physical layout and
             population counts at the jail and should be increased. . . . Due to
             limited cameras, staffing level shortages and blind spots within the
             facility, potential inmate on inmate assaults and hostage situations
             (staff, volunteers and otherwise) could not be addressed and
             responded to in a timely manner, even if observed or known. An
             inmate assault on an officer occurred during the inspection period.
             It was observed by inspectors at no point during the two days
             inspection there was adequate staff on any shift to respond to such
             disturbances or medical emergencies at any time, forcing officers to
             stand alone, or at best a pair of officers, without readily available
             backup. This condition may contribute to the high turnover rate
             and staff retention challenges. NIJO advises that Colbert County
             conduct a thorough staffing analysis including determining whether
             the current pay scale is comparable to other jails and private sector
             reemployment opportunities nearby to address staff retention, high
             turnover and hiring issues facing the administration.

                  ....

           • CCTV is used as a security tool from the control room. Most
             cameras appear to function properly and are being heavily utilized
             by control room staff. It should be noted that CCTV is not to be
             used as a replacement to supervision but rather a supplement for
             staff supervision. This is important given the number of blind
             spots observed at the facility. Also, CCTV does not produce the
             supervision benefits of smell and sound, for example, which can be
             observed and responded to by staff. Inmates in the housing units
             cannot be observed by the CCTV system. And if utilized, the
             toilets are located in the center of the cells in a position where they
             [can] be constantly observed.

(Id. at 19-21).

       The report also addressed Living Areas:

                                            13
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       The Colbert County Jail is aged and outdated in both in [sic] physical
layout and in technology. The housing units were not planned adequately
to accommodate an increase in population which created a need for
increased beds. This increases the need for necessary inmate support
areas, such as kitchen, education and treatment programs, laundry, and
religious services. Inmate movement, especially given the physical
constraints and layout of the housing units, increases risk of assaults and
escapes and increases the need for additional security staff. . . .

   • Due to the inability to appropriately classify inmates being housed
     in general population, a greater risk of violence to these inmates is
     created . . . . The cells lack security measures that should be
     considered when housing certain classification levels of inmates
     who should not be placed in a larger dormitory style housing area .
     ...

      ....

   • Staffing deficiencies were identified in the cell areas that pose a
     potential threat to officer and inmate safety in response to assaults
     or escapes . . . .

   • Segregation cells (J block, Sick Bay, and drunk-tank) are used for
     housing high profile inmates, suicidal inmates, inmates with
     medical problems and behavior problems. While efforts are made
     to separate the different types of inmates, mixing these inmate types
     is inevitable due to the lack of showers in the Sick Bay and in the
     Drunk Tank. During the inspection process, there was an
      inmate-on-officer assault, resulting from this classification of
      housing. There are very limited segregation cells available to meet
      the current need for housing inmates that should . . . be isolated
      due to disciplinary and behavior management issues. In fact, after
      this incident, there were no disciplinary measures taken against the
      inmate. The lack of administrative segregation space jeopardizes
      the safety of inmates and officers. Furthermore, it encourages
      inmates to continue to disregard jail rules and regulations, knowing
      there is an unlikely chance of disciplinary movement following
      behavior that would usually result in disciplinary measures . . . .

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              ....

          • The need for increased staffing is evident. Staff reported a lack of
            confidence and ability in responding to incidents. No clear plan
            for back-up was available, especially when only one officer is on
            duty.

(Id. at 33-35) (emphasis in original).

       The NIJO recommended immediately hiring six additional corrections officers

and implementing a comprehensive training plan.                (Id. at 42-45).      It also

recommended implementing a disciplinary system and an inmate classification system,

with special consideration “given to solve the immediate problems of housing the

different classes of inmates safely, particularly those inmates with suicidal ideations,

medical needs, [or] who are vulnerable or violent.” (Id. at 47). The NIJO additionally

recommended placing a limit “on the number of inmates which can safely and

effectively be housed” and developing a plan “to alleviate increased jail population

issues until a new jail or additional housing can be arranged. Options may include early

releases, release[] of inmates with minor infractions, contracts with other facilities, cite

and release strategies, and book and release options.” (Id. at 48).

       The report also recommended:

       • The housing cells which are currently available should be re-identified
         and assigned by current needs for the proper classification of inmates.
         Arrangements for exceeding capacity should be developed and
         implemented. There should be protocol for own recognizance
         releases, good time, cite and release, book and release and day
         reporting programs.
                                            15
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       • A plan should be developed and implemented to provide secure and
         safe showers for inmates housed in the sick bay and in the drunk-tank.
         The tank should not be considered for long time housing and the time
         an inmate spends in this type of housing should be limited in duration.
         These inmates should not be mixed with inmates of a different
         classification level in order to meet their needs for cleanliness and
         hygiene.

(Doc. 85-60, at 51).

       Rutland did not know about the NIJO report prior to his September 17, 2019,

deposition.   (Doc. 85-43, at 113).     The record contains no evidence regarding

Bowling’s awareness of the report. Commissioner Jimmy Gardiner testified he did not

know about the NIJO report (Doc. 85-54, at 5), and former Commissioner and current

County Administrator Roger Creekmore testified he had not seen or read the report.

(Doc. 85-56, at 20). However, former Commissioner David Black did read the report.

(Doc. 85-55, at 34).

III.   Relevant Jail Policies and Procedures

       A.     Responsibility for Operating and Funding the Jail

       Colbert County bears responsibility for funding and maintaining the jail, but the

Sheriff bears responsibility for the care, custody, and control of inmates. The Jail

Administrator, who reports directly to the Sheriff, bears responsibility for the day-to-

day operations of the jail. DeShannon Bowling served as the Jail Administrator until

June 2017, when Marcus Rutland took over that role. (Doc. 85-49, ¶ 3).

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      B.     Jail Capacity and Overcrowding

      The County constructed the jail to house a maximum of 62 inmates. However,

at the time of the events underlying these lawsuits, the jail regularly exceeded its

capacity. Rutland testified the jail averaged around 100 inmates during the relevant

time period.     Sheriff Williamson estimated the average population to equal

approximately 80 to 90 inmates, but he acknowledged the population regularly exceeded

100. (Doc. 85-43, at 84; Doc. 85-48, at 13-14, 41, 46-48; Doc. 85-49, ¶ 4). In a March

4, 2018, newspaper article, the Sheriff stated the jail “routinely averages from 100 to

125 inmates.” (Doc. 85-55, at 99). The additional inmates slept on mats on the floors

of the cells and bull pens. (Doc. 85-43, at 84).

      To alleviate overcrowding, the Sheriff testified he asks other counties to house

inmates, asks judges to release inmates or lower their bonds, and communicates with

the local prosecutors and judges regarding sentences in order to reduce the jail

population. (Doc. 85-48, at 13-14, 41, 46-48; Doc. 85-49, ¶ 4). The Sheriff testified

he typically will “start worrying about” taking those measures to reduce the jail

population when occupancy reaches 90 or 100 detainees. (Doc. 85-48, at 51).

      Black testified he knew generally about problems with jail overcrowding,

although he did not know, at any given time, how many inmates the jail housed.

However, he knew that capacity regularly exceeded 100. (Doc. 85-55, at 28-29).


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Creekmore testified he knew the jail was “consistently, significantly over capacity.”

(Doc. 85-56, at 17).

      C.     Staffing and Inmate Monitoring

      During the relevant time period, the Defendants tendered testimony that the Jail

Administrator “tried” to schedule two to four officers to work each eight-hour shift,

but the record does not contain specific data regarding how many officers actually

worked each shift. One officer always remained on the first floor of the jail, which

contained the booking area and jailers’ quarters, to monitor the video cameras and

answer the phone. The other officer or officers purportedly roved the cell block areas,

performing observation checks every 15 to 20 minutes and noting any problems in a

handwritten jail log. Williamson attested that when he became Sheriff in 2015, he

shifted jail dispatch duties to a 911 employee instead of a jail employee, presumably

freeing an additional jail officer for inmate monitoring duties. (Doc. 85-49, ¶ 6; see also

Doc. 85-44, ¶ 6; Doc. 85-46, ¶ 6; Doc. 85-47, ¶ 6).

      Jail logs consistently portrayed two, and sometimes three, officers working on

shifts during the time period at issue. (See Doc. 91-1 at 3-17; 91-2 at 3-7, 13-14; 91-3;

91-4; 91-5; 91-6; 91-7). Furthermore, the logs depict officers performed varying tasks

while on duty other than roving and monitoring, such as “pulling” laundry and trash;

retrieving ice and mop buckets; preparing and distributing “chow”; and transporting


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inmates around the facility for various reasons, such as washing cars, sick bay, etc. (See,

e.g., Doc. 91-3).

       Video cameras in the catwalk areas outside the cell blocks allowed officers to

view cell doors, but officers could not see inside cells, other than a very limited space

just inside the cell door. The jail also employed an audio monitoring system that

allowed the officer in the booking area to communicate with the officers roving the jail

and to listen to activity in the cell blocks.      In addition, roving officers carried

communication radios. (Doc. 85-49, ¶ 6; see also Doc. 85-44, ¶ 6; Doc. 85-46, ¶ 6; Doc.

85-47, ¶ 6; Doc. 85-43, at 39-40; Doc. 85-45, at 34; Doc. 85-48, at 16).

       In response to the May 2016 NIJO report, the Sheriff testified he installed “a

new CCTV system in the control room of the jail.” (Doc. 85-49, ¶ 20). He explored

replacing all the security cameras in the facility, but he received a quote of $50,000 to

perform the work, and he declined to spend that money. He believed adding additional

cameras in or just outside the cells could prove futile because the low height of the

ceilings would prevent officers from installing cameras out of inmates’ reach, and

inmates likely would destroy or impede the cameras. (Doc. 85-48, at 18, 36-37; see also

85-43, at 39-40).

       The Sheriff also testified he “[i]ncreased staffing and salaries for corrections

officers” and “[i]ncreased supervision of line staff at the Jail.” (Doc. 85-49, ¶ 20). The

County’s budget report reflects an approximately $100,000 increase in total salaries
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between 2015 and 2016, and another similar increase between 2017 and 2018. (Doc.

85-58, at 2).6 The record does not indicate exactly how much existing jailers’ salaries

increased, or the exact number of additional jailers the Sheriff hired. However, the

budget numbers do not reasonably indicate the Sheriff hired six additional jailers during

the time period Plaintiffs were detained at the facility, as the NIJO report

recommended.

       In addition, Sheriff Williamson acknowledged that the physical layout of the jail

limited officers’ abilities to observe inmates, even after implementing staffing

improvements. (Doc. 85-48, at 31). Commissioner Black testified he did not know

whether the jail had the ability to monitor inmates in isolation cells with cameras.

(Doc. 85-55, at 30).

       Defendants declare that officers “routinely” perform cell inspections, or

“shakedowns,” to search for contraband. They also state officers perform daily head

counts, during which they view each inmate to verify his presence in the jail and to

detect any illnesses or injuries. (Doc. 85-44, ¶ 13; Doc. 85-47, ¶ 13).



6
  Plaintiffs assert that “salaries budget numbers for 2016 and 2[01]7 were, in fact, less than 2015.”
(Doc. 93, at 24). Indeed, the budget report line item amounts for “Salaries & Benefits” in 2016 and
2017 decreased from the 2015 amounts. However, the report explains that “mid 2015 E911 took
over dispatch so salaries would have decreased and dispatch services would have increased. So to get
total salaries & benefits, we really need to add salaries + dispatch srv line item.” (Doc. 85-58, at 2).
The totals for “Salaries & Benefits” and “Dispatch Srv” increased between 2015 and 2016, and they
increased again between 2017 and 2018. Thus, the record does not support Plaintiffs’ assertion that
officer salaries decreased over time.
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          D.      Officer Training

          Sheriff Williamson attested on January 29, 2021, that he implemented additional

training measures in response to the May 2016 NIJO report, including requiring the Jail

Administrator and other officers to attend NIJO training classes, providing two hours

of weekly training for each officer, and requiring all new officers to attend the Alabama

Jail training academy. (Doc. 85-49, ¶ 20). However, he testified during his September

17, 2020, deposition that the Jail Administrator receives formal training in statewide

classes, but the other officers do not receive any formal training. Rather, he stated

existing officers learn from the Jail Administrator, and new officers receive on-the-job

training from more senior officers. (Doc. 85-48, at 25-26). Corrections Officer

Heath Halcomb testified on September 24, 2019, that he had not received any training

in the previous eight years. (Doc. 85-41, at 25).

          E.      Classification and Inmate Safety

          Rutland testified the jail did not have a “formal classification system.” (Doc.

85-43, at 36). Nevertheless, an undated Colbert County Jail Policy and Procedure

Directives state the following regarding Enemies Lists:

                  Policy:

                 It is the policy of the Colbert County Jail that insofar as possible,
          the person will [not7] be placed in the same housing unit with others who
          might do him/her harm because of [a] pre-existing problem.

7
    The written policy omits the word “not,” but the court considers that a typographical error, as the
                                                  21
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               Procedure:

             All persons booked into the Colbert County Jail will be given the
       opportunity to complete an enemies list.

               The person being booked into the jail can list any other persons in
       the jail whom he fears or has reason to believe is [sic] a threat to him.

             If the inmate states that there is another inmate(s) who might do
       him harm, jail personnel will document the concern of the inmate and will
       house the inmate away from the one(s) he/she fears.

             If a new inmate states that he/she has no knowledge of another
       inmate who might want to harm him/her, the booking officer will
       document this information on the enemies list, have the inmate sign the
       form, and place the form in the inmate’s file.

(Doc. 85-51, at 7-8).

       The Policy and Procedure Directives state the following regarding Classification

of Inmates:

               Policy:

              It is the policy of the Colbert County Jail that an inmate will be
       assigned to the housing unit of the jail most appropriate for his/her
       security and safety.

               Procedure:

             The Jail Administrator will devise classification criteria for the jail
       based on the recognition that the following classes of persons should not
       be housed in the same housing units:

               - male and female

policy otherwise would present obvious problems that Plaintiffs have not identified.
                                              22
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             - adult and juvenile
             - pre-trial and sentenced (space permitting)
             - misdemeanor and felon (space permitting).

(Id. at 9). The written policy does not mention segregating inmates charged with

violent offenses from those charged with non-violent offenses.

      Sheriff Williamson, Jail Administrators Rutland and Bowling, and corrections

officer Michael Williams also offered testimony about the practices at the jail. When

officers book a new inmate, they ask if the inmate has any known enemies at the jail.

If the inmate responds affirmatively, officers note the response in a written file and in

the Jail Tracker software system, and they do not assign the new inmate to the same cell

block as the known enemy. After booking, officers escort a new inmate to his assigned

cell block and read a list of all other inmates housed there. If the inmate expresses that

one of those other inmates constitutes an enemy, or that he fears for his safety because

of the other occupants, officers reassign him to a different cell block. (Doc. 85-41, at

27; Doc. 85-44, ¶ 8; Doc. 85-46, ¶ 7; Doc. 85-47, ¶ 8; Doc. 85-48, at 11; Doc. 85-49, ¶

9). Rutland, Bowling, and Williams stated officers house inmates “the best we can

according to the way they are charged, and by looking at criminal histories.” (Doc. 85-

44, ¶ 8; Doc. 85-46, ¶ 7; Doc. 85-47, ¶ 8). They expressed the goals of housing

“inmates with violent charges separately from those with nonviolent charges, and

[protecting] inmates from being exposed to unnecessary risks from other inmates.”

(Id.). However, Williams acknowledged during his September 2019 deposition that
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officers “did not do a very good job of [segregating violent and non-violent inmates] in

the past,” though he testified officers are improving those conditions with their current

policies. (Doc. 85-45, at 49).

       If a safety concern arises due to a conflict with a cell mate during incarceration,

an inmate can report the concern to officers verbally or through an e-mail kiosk located

in the cell block, and the officers will move him to a different cell block. Jail Tracker

also monitors and maintains these requests, noting which inmates officers should house

separately. (Doc. 85-49, ¶ 9; see also Doc. 85-41, at 27; Doc. 85-48, at 11-12).

       Due to the small size of the Colbert County Jail, “officers typically know the

people that come in and out of the Jail.” (Doc. 85-49, ¶ 11). The Sheriff testified that

knowledge allows officers to “separate those inmates with serious or violent charges or

violent natures/actions from those inmates with nonviolent charges, and house them

in different areas of the Jail.” (Id.; see also Doc. 85-46, ¶¶ 2-3). It also allows officers

to identify conflicts between inmates and separate the conflicting parties. Sheriff

Williamson testified that officers always check before moving an inmate into a new cell

block to ensure that the inmate does not have any known enemies in that block. (Doc.

85-49, ¶ 11).

       Even though Rutland testified that in August 2017 the jail commenced a policy

of placing detainees accused of murder in J-cells (Doc. 85-43 at 38), the small size of

the jail limited officers’ ability to segregate inmates. (Doc. 85-48, at 13 (“We – you
                                            24
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know, you can only put them so many places in our jail. So, you know, if you – if you

get – we don’t have enough room to classify – put each classification in a different

room, you know. There’s no way to do that.”)). Sheriff Williamson testified that the

jail’s limited space prevented him from establishing a more formal inmate classification

system. (Doc. 85-48 at 35). Consequently, inmates charged with violent offenses

would occupy the same cell block as inmates charged with non-violent offenses. (Doc.

85-48, at 11; see also Doc. 85-43, at 32). As discussed, officers now attempt to place

violent inmates together in a J-cell, as long as the inmates do not face charges in the

same criminal case. (Doc. 85-41, at 20, Doc. 85-43, at 38; Doc. 85-45, at 42, 44).

      F.     Disciplining Inmates Who Participate in Assaults

      The Defendants attest the jail maintained a policy and practice of disciplining

inmates who acted as the aggressors in assaults on other inmates, if witnesses or other

evidence corroborated the aggression. They also declare that officers typically housed

inmates who incurred disciplinary infractions in one of the drunk tank cells, where they

would experience isolation and lose television privileges. The Defendants also assert

they sometimes revoked an inmate’s telephone, commissary, and visitation privileges.

(Doc. 85-44, ¶ 12; Doc. 85-47, ¶ 12; Doc. 85-49, ¶ 14). However, the small size of the

jail limited officers’ ability to inflict effective discipline because they cannot always

isolate inmates with disciplinary infractions, and inmates can find other ways to access

the telephones and commissary. (Doc. 85-48, at 31-32, 35).
                                           25
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      Commissioner Gardiner testified he did not know the jail lacked isolation cells,

or that isolating an inmate in a J-Cell would eliminate that cell’s availability for other

inmates. (Doc. 85-54, at 6 (“I was not aware that – that there were[,] weren’t any

isolation cells. I – I didn’t know you had to shut off three more cells. I – I was – I’ve

seen where there’s people been in isolation, but I assumed there was a one cell. I didn’t

pick up that they cut off other people, you know.”). Commissioner Black also testified

he did not know whether the jail contained isolation cells, or whether the lack of

isolation cells presented a problem. (Doc. 85-55, at 32, 46).       Black acknowledged

that segregating a single inmate in a four-person cell would prevent the jail from using

all available beds, but he never became involved in any decisions regarding inmate

segregation as that would fall under the Sheriff’s purview. (Id. at 43). Commissioner

Creekmore testified he knew the jail did not have individual isolation cells, but he did

not know the extent to which the lack of isolation cells impacted the Sheriff’s ability to

separate inmates, as he was “not in charge of jail operations.” (Doc. 85-56, at 7). The

Sheriff had mentioned “offhanded” to Creekmore that “he could use more isolation

cells,” but that “was not an in-depth conversation.” (Id. at 6).

IV.   The Jail’s Requirement to House Five Capital Murder Pretrial Detainees

      Between 2016 and 2018, the Colbert County Jail housed five pretrial detainees

facing capital murder charges for the same murder: Peter Capote; Benjamin Young;

Thomas Hubbard; DeVontae Bates; and Riley Hamm, Jr. The jail had never before
                                           26
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housed that many capital murder detainees at once. (Doc. 85-44, ¶ 8; Doc. 85-46, ¶ 7;

Doc. 85-47, ¶ 8; Doc. 85-49, ¶ 12).

       Investigators asked jail officials to keep the detainees separated from each other

for security reasons and to prevent them from communicating with each other in the

jail and potentially compromising the prosecution. To accommodate that request, jail

officials attempted to secure housing for the detainees in other facilities, but could only

make such an arrangement for Bates and Hamm, as no other facility would agree to

house Capote, Young, or Hubbard. (Doc. 85-44, ¶ 9; Doc. 85-47, ¶ 9; Doc. 85-49, ¶

12).

       Williamson, Rutland, and Bowling all attested that they chose to separate Capote

and Young because those two inmates did not get along. (Doc. 85-44, ¶ 9; Doc. 85-

47, ¶ 9; Doc. 85-49, ¶ 12). However, the Jail Tracker Offender Alerts for Capote and

Young do not list each other among the names of inmates officers needed to house

separately. (Doc. 85-10, at 2; Doc. 85-13, at 2). Officers placed Young alone in one

of the J-cells because he acted as a leader of the group of capital murder detainees,

talked often about violence, and possessed a physically imposing frame. They placed

Capote and Hubbard in general population cells. Capote also acted as a leader of the

group, but he possessed a smaller frame than Young, so officers chose to prioritize

isolating Young over isolating Capote. After initially assigning Capote and Hubbard

to their cell blocks, Defendants declare they frequently moved them around if they
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experienced conflicts with other inmates.       Officers documented any cell block

reassignments in the Jail Tracker software, and they checked for known enemies before

effecting a reassignment. (Doc. 85-44, ¶ 9; Doc. 85-47, ¶ 9; Doc. 85-49, ¶ 12).

      On March 5, 2016, upon Capote’s arrival at the Colbert County Jail, officers

assigned him to the Northwest cell block. At some unspecified point, Capote occupied

one of the drunk tank cells, and on October 10, 2016, officers transferred him to the

Northwest cell block. On December 7, 2016, they transferred him back to the

Southwest cell block. At some unspecified point, they transferred him to the Southeast

cell block, and on July 19, 2017, they transferred him to a drunk tank cell. At some

unspecified point, officers transferred Capote back to the Southeast cell block, and on

September 6, 2017, they moved him to the Northwest cell block, then to a drunk tank

cell. (Doc. 85-43, at 258). The record does not depict Capote’s cell movement after

September 6, 2017, but officers must have reassigned him to the Southeast cell block at

some point, because, as later discussed, he perpetrated James’s and Hargrove’s assaults

in that cell block in March and April of 2018. In any event, Rutland conceded that

Capote was a “cell boss,” which means he ran the cell block where he was located and

typically retained power to administer violence with assistance, just “not all the time.”

(Doc. 85-43 at 32).

      Upon Young’s arrival at the Colbert County Jail, officers assigned him to the

Southeast cell block. On September 22, 2016, they moved him to a drunk tank cell,
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and on October 10, 2016, they transferred him to one of the J-cells for “Protective

Custody” because another inmate hit him and knocked him unconscious. On June 20,

2017, they moved him from the J-cell to the Northeast cell block. At some unspecified

point, he returned to a J-cell, and on August 8, 2017, officers transferred him back to

the Northeast cell block. On September 12, 2017, they moved him to the Northwest

cell block. (Id. at 257; Doc. 85-45, at 13-15).

         Officers avoided assigning Capote and Young to the same cell block as inmates

Alton Davis and Markease Jones, who jailer Michael Williams described as even more

dangerous than Capote or Young. (Doc. 85-45, at 39).8 Officers believed the victim

in Young and Capote’s case may be a relative of Davis or Jones, thereby providing a

potential source of conflict and violence. (Id. at 39-40, 42, 51). However, the Jail

Tracker Offender Alerts for Capote and Young do not list Davis and Jones among the

names of inmates officers needed to house separately. (Doc. 85-10, at 2; Doc. 85-13,

at 2).

         Sheriff Williamson attested that locking Capote and each of the other capital

murder detainees alone in one of the J-cells or in a bunk room would not have

constituted a reasonable housing solution:



8
  Davis eventually received a 99-year prison sentence for shooting a police officer, and he often
experienced conflicts with other inmates in the Northeast cell block. Williams described Jones, who
eventually received a 25-year prison sentence for kidnapping, theft, and burglary, as “very
intimidating” and “one that you did not mess with.” (Doc. 85-45, at 39).
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      This would have caused the Jail to have less beds available for its inmates,
      and cause more overcrowding, which could have caused even more
      problems, including problems with security and safety in the Jail. More
      importantly, these five detainees charged with capital murder were pretrial
      detainees who cannot be punished prior to an adjudication of guilt. In
      my opinion, locking them up in isolation for an extended period of time
      would have possibly violated their constitutional rights. Our plan of
      dealing with the unique situation that we encountered in the Jail was to
      use all of the beds we could for inmates, do our best to separate inmates
      with nonviolent charges and those with violent charges, monitor inmates
      and their enemies in the jail and keep them separate, and move inmates if
      there was a problem between them in the cellblocks.

(Doc. 85-49, ¶ 14).

      Rutland and Bowling stated that officers

      would have liked to have been able to put [the capital murder] detainees
      in their own separate cells, isolated from each other in different parts of
      the jail to completely limit communication between them, but we were
      limited in what we could do because we simply did not have single
      isolation cells in the jail.

(Doc. 85-44, ¶ 9; Doc. 85-47, ¶ 9).

      Rutland acknowledged that placing Capote in a J-cell “with two or three other

people that [officers] knew were not going to be vulnerable to him” would have

constituted “the reasonable thing to have been done as a matter of jail management.”

(Doc. 91-43, at 33). However, Rutland and Bowling stated that officers chose not to

house Capote in one of the J-cells because they wanted to maintain his separation from

Young, who already inhabited one of the J-cells, and because sex offenders also

inhabited some of the J-cells. The record does not contain any evidence regarding how

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many sex offenders the Colbert County Jail housed during the relevant time period.

(Doc. 85-43, at 38-39; Doc. 85-44, ¶ 11; Doc. 85-47, ¶ 11).

      Rutland and Bowling also opined that placing Capote in one of the bunk cells

and locking the door to keep him away from other inmates would not have constituted

a reasonable option because it would have caused the loss of more available beds in an

already overcrowded jail. In addition, during the relevant time period, officers “did

not lock down the sleeping/bunk cells because at one point the rolling doors to these

cells became very hard to unlock, making it a safety hazard to keep them locked with

an inmate inside.” (Doc. 85-44, ¶ 11; Doc. 85-47, ¶ 11). However, jail logs reflect

that officers locked two inmates in a bunk cell for disciplinary isolation as recently as

March 2, 2017. (Doc. 85-43, at 78-79). Maintenance repaired the doors at some

unspecified point, at the officers’ request. (Doc. 85-44, ¶ 11; Doc. 85-47, ¶ 11).

V.    The Assaults on Plaintiffs

      A.     Christopher Ogletree

      Officers booked Plaintiff Christopher Ogletree into the Colbert County Jail on

August 6, 2016, on charges of failure to pay a speeding ticket. (Doc. 85-1, at 7; Doc.

85-2, at 2). Ogletree could not recall with certainty whether the booking officers asked

him if he had any enemies in the jail, but he “want[s] to say they did.” (Doc. 85-1, at

8). Officers assigned him to a cell within the Southeast cell block, where he kept to

himself and did not experience any problems with any other inmates at first. Over
                                           31
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time, Ogletree sensed some tension with a cellmate named James Gadbaw and

nicknamed “Mississippi,” who faced charges of theft and robbery. Gadbaw spoke

loudly and hatefully to Ogletree, and he bumped into Ogletree when they crossed paths.

Ogletree offered Gadbaw some snacks in an attempt to ease the tension, but he never

complained to a corrections officer that he feared Gadbaw or any other inmate. (Id. at

9-10, 22; Doc. 85-4, at 3-11).

      On August 10, 2016, Ogletree observed Gadbaw talking to another inmate he

called “B.K.,” also known as Benjamin Young, and the conversation made him feel

uncomfortable. Ogletree sat down in the common area of the cell block. Gadbaw

walked by and hit Ogletree once in the left side of the mouth, breaking his jaw and

necessitating facial surgery. (Doc. 85-1, at 9-11, 24; Doc. 85-7, at 5; Doc. 85-45, at 18).

      Officers recorded Ogletree’s assault in incident reports. (Doc. 85-2, at 3-4).

They also added a notation to Ogletree’s file that he should be separated from Gadbaw

during any future incarcerations. (Doc. 85-3, at 2). Jail logs from August 10, 2016,

contain notations from only one officer (“CO 63”), giving rise to the reasonable

inference that only one officer worked the shift on which Gadbaw attacked Ogletree.

(Doc. 85-2, at 5-6).

      B.     Terry Alexander

      Officers booked Plaintiff Terry Alexander into the Colbert County Jail on July

13, 2016, on charges of possession of heroin and Tramadol, and they assigned him to
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the Northwest cell block. (Doc. 85-8, at 43). On October 24, 2016, Alexander sat on

a bench in the cell block’s common area, watching television. He watched an inmate

named Pruitt Terry walk to the commissary machine, then he turned his attention back

to the television. He then felt blows to his ear and the side of his head. He jumped

up and saw inmates Drew Singleton and Peter Capote standing next to him. Pruitt

Terry yelled, “Get him!” and the three afore-mentioned detainees hit and kicked

Alexander and stomped his head. After the assault, the other men shoved Alexander

under a bunk and took all of his personal items. (Id. at 26-27).

      Capote faced capital murder, assault, and weapons discharge charges; Pruitt

Terry faced domestic violence strangulation charges; and Drew Singleton faced theft

charges. (Doc. 85-9, at 5, 7; Doc. 85-16, at 2-4; Doc. 85-18, at 17, 19, 25, 32-34).

Capote had shared the Northwest cell block with Alexander since the beginning of

Alexander’s incarceration in July, and the two never experienced any conflicts prior to

October 24. (Doc. 85-8, at 27, 43). Terry arrived to the Northwest cell block

approximately two weeks prior to the assault, and Singleton arrived approximately two

months prior to the assault. Alexander did not experience any previous conflicts with

Terry or Singleton. He did not express to any corrections officer that he feared Capote,

Terry, or Singleton. (Id. at 28, 43-45).

      Alexander’s uncle worked as an investigator for the Sheriff’s Department, and

he served as the lead investigator on Capote’s murder case. Capote knew Alexander’s
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uncle worked as a Sheriff’s deputy, but Alexander did not know definitively whether

Capote knew the uncle worked Capote’s case.               Alexander informed his booking

officers about his uncle’s position as a Sheriff’s deputy, but he did not ask for a housing

assignment away from individuals whose cases his uncle may have investigated. (Id. at

54-56).

       As a result of the assault, Alexander defecated himself. (Doc. 85-8, at 28). He

could not recall whether he lost consciousness, but he suffered broken ribs, a cracked

sternum, and a brain hemorrhage that required surgery.                He later contracted

pneumonia, and he continues to suffer from post-traumatic stress disorder (PTSD),

short-term memory loss, and headaches. (Id. at 8, 14, 26, 31, 33-35, 47; Doc. 85-21, at

7, 10-14). The assault also left him with a permanent indentation on the left side of

his head. (Doc. 85-8, at 49).

       Alexander did not at first identify his assailants because he feared they would

retaliate against him and hurt him even more. Rather, he told jailers that he had fallen

in the shower. However, he later disclosed the assailants’ identities to the officer who

guarded him in the hospital. (Id. at 26, 45). Officers reported Alexander’s assault in an

incident report and in jail logs. (Doc. 85-19, at 2-4).     Jail logs from October 24, 2016,

contain notations from two officers (“CO 54” and “CO 58”), giving rise to the

reasonable inference that two officers worked the shift on which Alexander suffered

the assault. (Id. at 3-4)
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       C.      William Kryston

       Officers booked Plaintiff William Kryston into the Colbert County Jail at

approximately 4:30 a.m. on June 19, 2017, on charges of eluding the police, and they

assigned him to the Southeast cell block. (Doc. 85-23, at 13-14).

       Kryston previously served seven months in the Colbert County Jail, ending on

March 22, 2017, on charges of unlawful possession of a controlled substance. (Doc.

85-24, at 4-5). He knew about Capote and the other capital murder detainees, but he

never had contact with any of those inmates during his previous incarceration because

they resided in a different cell block. (Doc. 85-23, at 9-10).

       When Kryston entered the Southeast cell block, he approached the first bunk

room, which remained dark due to the early hour and the fact that most inmates

continued to sleep, to ask if it contained any open bunks. An unknown inmate asked

Kryston’s name, which he gave, and the inmate said he and others would clean off an

open bunk for Kryston.              Kryston walked into the common area to wait.

Approximately ten minutes later, Capote and another inmate named Tyler Butler9 told

Kryston he could claim the clean bunk. However, as soon as Kryston lifted his

mattress up onto the bunk, Capote and Butler hit, kicked, and stomped on him in the



9
  Butler’s full name is Christopher Tyler Butler. Doc. 85-26, at 2-6. The record depicts that officers
and inmates called him both “Christopher” and “Tyler,” and that both names refer to the same
individual.
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face, head, chest, and back. Kryston had never encountered either Capote or Butler

before that day.      (Id. at 13-15).   Butler faced charges of unlawfully possessing

marijuana. (Doc. 85-26, at 2-6).

      As a result of the assault, Kryston suffered fractured ribs and a punctured lung

that required insertion of a chest tube. (Doc. 85-23, at 24).

      Officers reported Kryston’s assault in an incident report and jail logs. (Doc. 85-

24, at 2-3, 6-12). The incident report noted that Capote stated he assaulted Kryston

because Kryston robbed one of Capote’s family members a few months earlier. It also

stated that Capote asked officers to remove Kryston from his vicinity before he hurt

Kryston even worse. (Id. at 2-3). Officers added a notation to Kryston’s file that he

should be separated from Capote during any future incarcerations. (Doc. 85-25, at 2).

Available jail logs from the morning of June 19, 2017, state that one officer left duty

after Kryston’s attack, but they do not state how many officers were on duty at the time.

(Doc. 85-24, at 6).

      D.     Timmie James

      Officers booked Plaintiff Timmie James into the Colbert County Jail on

December 27, 2017, on charges of unlawfully breaking and entering a vehicle, bond

revocation, theft, attempted burglary, illegally obtaining water/electronic/gas, unlawful

possession of a controlled substance, and theft of services. (Doc. 85-29, at 2). They

assigned James to the Southeast cell block. (Id. at 5).
                                            36
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       On March 11, 2018, five other inmates, including Capote, assaulted James,

resulting in a nasal fracture and contusions to his head, face, and chest. (Id.; Doc. 40-

1 in 3:20-cv-00333-HNJ, ¶ 2; Doc. 85-32, at 4).10 Officers documented James’s assault

in the jail logs, and they added a notation to James’s file that he should be separated

from Capote during any future incarcerations. (Doc. 85-29, at 5; Doc. 85-30, at 2).

Jail logs from the relevant hours of March 11, 2018, state two officers (“CO 54” and

“CO 61”) worked the shift during which James’s assault occurred. Depending on the

exact timing of James’s assault, an additional officer may have worked the shift, as the

logs indicate that “CO 65” left his shift at 5:00 p.m. (Doc. 85-29, at 4-5).

       E.      Daniel Hargrove

       Officers booked Plaintiff Daniel Hargrove into the Colbert County Jail on April

11, 2018, as a fugitive from justice with charges of making a terrorist threat to a

Rockdale, Georgia, police department, and they assigned him to the Southeast cell

block. (Doc. 85-33, at 8, 10-11; Doc. 85-34, at 2). For approximately one week,

Hargrove did not experience any altercations or conflicts with Capote or any other

inmates. On April 18, Capote physically assaulted Hargrove, resulting in three broken

ribs, a broken jaw and nose, and a swollen eye. (Doc. 85-33, at 12-13; Doc. 85-36, at


10
   Sheriff Williamson and Jail Administrator Rutland state they had no knowledge of James’s assault,
and jail records do not include a reference regarding the assault. (Doc. 44-1 in 3:20-cv-00333-HNJ,
¶ 2; Doc. 44-2 in 3:20-cv-00333-HNJ, ¶ 2). But the court must accept James’s statements as true for
purposes of ruling on the motions for summary judgment, and James declared that Capote and four
other inmates assaulted him.
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5-8, 11). After the assault, Hargrove experienced disorientation, as he believed he was

in a place other than the jail. (Doc. 85-33, at 12-14, 27).

      Officers documented Hargrove’s assault in an incident report and in the jail logs.

(Doc. 85-34, at 9-14). Prior to the assault, Hargrove never informed corrections

officers that he feared for his safety. (Doc. 85-46, ¶ 9). Jail logs from the relevant

hours of April 18, 2018, state two officers (“CO 64” and “CO 66”) worked the shift

during which Hargrove’s assault occurred. (Doc. 85-34, at 10-11).

VI.   Capote’s History of Violence Toward Other Inmates

      Even though no jury had yet convicted the capital murder detainees while they

inhabited the Colbert County Jail, Sheriff Williamson and Jail Administrator Rutland

knew Capote exhibited a violent background due to his criminal history, gang affiliation,

and teardrop tattoos, which typically signify past violent acts. (Doc. 85-43, at 32-33;

Doc. 85-48, at 19-20). Officers testified Capote behaved respectfully toward jail staff,

and Sheriff Williamson testified Capote “typically got along with other inmates for the

most part.” (Doc. 85-49, ¶ 13; see also Doc. 85-44, ¶ 10; Doc. 85-47, ¶ 10 (“Capote

usually got along with the inmates. We were never notified by inmates that Capote

was generally violent toward them.”)). Nevertheless, as revealed previously Rutland

conceded that Capote was a “cell boss,” which means he ran the cell block where he

was located and typically retained power to administer violence with assistance, just

“not all the time.” (Doc. 85-43 at 32).
                                           38
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       The Sheriff testified he did not know of any assaults involving Capote until

October 24, 2016, when Capote assaulted Alexander, and the record contains no

evidence of any such assaults. (Doc. 85-49, ¶ 13). Prior to that date, there exists

evidence of one inmate injury and two inmate assaults in Capote’s cell block, as well as

two requests to remove inmates from the cell block for their safety. (Doc. 91-1, at 7,

11-12; Doc. 91-2, at 1; Doc. 85-43, at 45, 58; Doc. 85-45, at 21-24, 26-27, 31).

       On November 9, 2016, and January 17, 2017, inmate assaults occurred in

Capote’s cell block. (Doc. 85-45, at 31-32; Doc. 91-2, at 1-4). On January 25, 2017,

officers removed an inmate from Capote’s cell block because Capote said he wanted to

fight the inmate. (Doc. 91-2, at 5; Doc. 85-45, at 36). On February 12, 2017, a

physical altercation occurred between Capote and another inmate. After the incident,

officers removed the other inmate from Capote’s cell block. (Doc. 91-2, at 6; Doc. 85-

45, at 37). On March 13, 2017, Capote assaulted another inmate in his cell block by

hitting him four times in the left jaw and stomping him four times in the head, resulting

in injuries that required emergency room treatment. In response, officers locked

Capote in his cell for 14 days with Butler, an “associate” of his. (Doc. 91-2, at 7; Doc.

85-45, at 54).11 On April 18, 2017, Capote attempted to charge at an inmate worker,




11
  The record does not clearly explain why officers disciplined both Capote and Butler, as the jail logs
reflect that Capote, not Butler, perpetrated the assault. (Doc. 91-2, at 7).
                                                   39
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but officers restrained him, and the officers witnessed no physical altercation. (Doc.

91-4, at 10).

       On June 19, 2017, the assault on Kryston occurred. (Doc. 85-23, at 13-15).

       On July 11, 2017, an inmate in Capote’s cell block suffered an assault that

required an emergency room visit. (Doc. 91-4, at 20). On July 19, 2017, Capote

fought with another inmate, and officers moved that inmate to a drunk tank cell. (Doc.

91-5, at 2). On August 14, 2017, an inmate informed officers that Capote had

fashioned a shank from a metal pole and threatened to stab people. (Id. at 7).         On

August 15, 2017, Capote charged at an inmate worker, who then punched Capote.

(Doc. 91-2, at 11; 91-5, at 7; Doc. 85-45, at 58).

       On September 5, 2017, an inmate asked to be removed from Capote’s cell block

“because of problems.” (Doc. 91-2, at 12). This request angered Capote and Butler,

and Butler assaulted the inmate who made the request. As a result of this incident,

officers moved the assault victim to a J-cell, Butler to a different cell block, and Capote

to one of the drunk tank cells. The incident report states: “Several prior assault

incidents have involved inmates Tyler Butler and Peter Capote so they were moved and

split up.” (Id.; see also Doc. 91-5, at 16).

       On September 7, 2017, an assault occurred in the drunk tank cell that housed

Capote, but the evidence does not state whether Capote participated in the assault.


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(Doc. 91-5, at 17). On March 3, 2018, Capote and three other detainees assaulted a

fellow inmate they suspected of stealing. (Doc. 91-6, at 11; Doc. 85-43, at 103-04).

      On March 11, 2018, the assault on James occurred. On April 18, 2018, the

assault on Hargrove occurred.

      Thus, jail records reflect that Capote participated in ten documented assaults

during his approximately 800-day incarceration. (Doc. 85-49, ¶ 13). Officers “never

had advance notice” of any specific assault involving Capote. (Doc. 85-44, ¶ 10; Doc.

85-47, ¶ 10). When Capote participated in an assault, officers allegedly inflicted what

Sheriff Williamson characterized as “appropriate discipline” and separated Capote from

the other inmates involved in the fight. (Doc. 85-49, ¶ 14). Capote spent a total of

20 days in drunk tank cells as discipline for two separate incidents. (Doc. 85-44, ¶ 10;

Doc. 85-47, ¶ 11; Doc. 85-11, at 2).

VII. Young’s History of Violence Toward Other Inmates

      Two inmate assaults occurred in the Southeast cell block where Young resided,

prior to the first assault alleged in this case on August 10, 2016. However, the records

do not reflect that Young instigated or participated in those assaults. (Doc. 91-3, at 4,

7). Immediately prior to Ogletree’s August 10, 2016, assault, Ogletree observed James

Gadbow, his assailant, talking to Young. (Doc. 85-1, at 9-10, 23; Doc. 85-45, at 18

(explaining that others called Young “B.K.”)). On September 6, 2016, Gadbow

assaulted another inmate. Later that day, Young told officers “they would keep beating
                                           41
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up people until [officers] brought back Kasey Richard.” (Doc. 91-1, at 10; Doc. 85-

45, at 10) (emphasis supplied).12

       On May 24, 2017, Young assaulted an inmate worker who brought supplies to

his J-cell. (Doc. 85-45, at 17-18). On June 20, 2017, the same day he returned to

general population after isolating in a J-cell, Young assaulted an inmate. (Doc. 91-4, at

17). On July 25, 2017, Young assaulted another inmate, causing that inmate to need

emergency room treatment.           (Doc. 91-5, at 4).   On December 6, 2017, Young

assaulted an inmate, but neither party received notable injuries. (Doc. 91-6, at 5). On

December 10, 2017, and January 7, 2018, assaults occurred in Young’s cell block, but

the record does not contain evidence directly connecting Young to the assaults. (Doc.

91-6, at 6, 9-10).

VIII. Other Assaults at the Jail

       In addition to the incidents already described, officers documented 13 inmate

assaults in the Jail Tracker system between March 3, 2017, and April 18, 2018. None

of these assaults ostensibly involved any of the Plaintiffs or any of the capital murder

detainees. (Doc. 85-41, at 58 (March 3, 2017), 60 (April 18, 2017), 61 (May 16, 2017),

62-63 (May 21, 2017), 65 (May 28, 2017), 69 (July 13, 2017), 74 (September 8, 2017), 75

(September 15, 2017), 77 (September 25, 2017), 80 (November 26, 2017). Two of


12
 The record contains no additional evidence regarding Kasey Richard or the reasons why Young
wanted officers to bring Richard back to the cell.
                                                   42
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those assaults resulted in officers transporting an involved inmate to the emergency

room for additional medical treatment. (Id. at 58, 77).13

        Handwritten jail logs document 52 additional inmate assaults between

approximately May 2016 and September 2018. (Doc. 91-3, at 1 (undated), 2 (undated),

4 (May 16, 2016); Doc. 91-1, at 11 (June 13, 2016); Doc. 91-3, at 7 (June 29, 2016), 8

(September 26, 2016), 9 (October 23, 2016), 10 (October 28, 2016), 11 (November 3,

2016), 12 (November 13, 2016), 13 (undated), 14 (November 25, 2016), 15 (November

26, 2016), 16 (undated), 17 (December 22, 2016), 18 (undated), 19 (January 5, 2017), 20

(January 13, 2017); Doc. 91-4, at 1-2 (January 17, 2017), 3 (January 23, 2017), 5

(undated), 7 (undated), 8-9 (April 4, 2017), 11-12 (undated), 13-14 (April 25, 2017), 15

(May 14, 2017), 16 (June 16, 2017), 19 (undated), 21 (undated); Doc. 91-5, at 1 (July 18,

2017), 3 (July 22, 2017), 12 (undated), 14 (September 1, 2017), 15 (undated), 16

(September 5, 2017:          two fights), 17 (undated), 18 (undated), 19 (undated), 20

(September 25, 2017), 21 (October 13, 2017); Doc. 91-6, at 1 (undated), 2 (November

23, 2017), 3 (undated), 4 (November 26, 2017), 7 (December 17, 2017), 9 (undated),

12 (March 4, 2018), 13 (March 9, 2018), 14-15 (March 17, 2018), 16 (March 24, 2018),

17 (undated).14 Seventeen of those assaults resulted in officers transporting an involved


13
   The record reflects additional assaults occurred after April 18, 2018, but those assaults do not bear
relevance to Plaintiffs’ claims, as the last assault on any of the Plaintiffs occurred on April 18, 2018.
14
   As portrayed, some of the copies from the jail logs do not bear dates. Presumably, this results
from counsel’s filing only the relevant pages from the jail logs, with the (likely inadvertent but)
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inmate to the emergency room for additional medical treatment. (Doc. 91-3, at 1, 10

20; Doc. 91-4, at 1-2, 7, 11-12, 15, 21; Doc. 91-5, at 3, 17, 20; Doc. 91-6, at 3, 9, 12-17).

        Other jail log notations indicate inmate assaults, specifically portraying that an

inmate received an injury without confirmation that an assault occurred. (See Doc. 91-

3, at 3 (May 10, 2016: “[inmate] face was swollen”); Doc. 91-4, at 20 (July 11, 2017:

“Went in cell, [inmate] was laying on his back in bullpen. He wasn’t communicating

with me.”); Doc. 91-5, at 5 (undated: “[inmate] was busted up pretty good his face was

bloody and black & blue couple cuts, ask him what happen he said he fell in the shower

and he was fine, [other officers were] not called about any situation that had happen[ed]

in the past 24 hours about this”)). A reasonable factfinder may determine these injuries

resulted from inmate assaults, as Williams testified that inmates often tell officers they

fell in the shower when, in fact, another inmate assaulted them, because “they’re not

going to tell on each other.” (Doc. 85-45, at 15).

        Sheriff Williamson testified that despite officers’ precautions “inmate-on-inmate

assaults happen in every jail” due to inmates’ generally poor impulse control and their



consequent omission of pages bearing the dates for certain entries. Defendants have not objected to
the dates Plaintiffs assign to these incidents in their briefs. Even so, the actual record evidence does
not portray the dates, so the court has not assigned a date to the incidents. In any event, the precise
dates for these events do not prove material to Plaintiffs’ point, as long as the incidents incurred within
the relevant date range, as later discussed.
        The record reflects additional assaults occurred after April 18, 2018, but those assaults do not
bear relevance to Plaintiffs’ claims, as the last assault on any of the Plaintiffs occurred on April 18,
2018.

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frustrations over lost freedoms. (Doc. 85-49, ¶ 10; see also Doc. 85-44, ¶ 7; Doc. 85-

46, ¶ 5; Doc. 85-47, ¶ 7). Rutland, Bowling, and Williams attested that most inmate-

on-inmate assaults “are very short, generally just a few punches.” (Doc. 85-44, ¶ 7;

Doc. 85-46, ¶ 5; Doc. 85-47, ¶ 7). Williamson, Rutland, Bowling, and Williams opined

that “[i]nmate assaults in the Colbert County Jail have never been so commonplace as

to be viewed the norm or as routine.” (Doc. 85-44, ¶ 7; Doc. 85-46, ¶ 5; Doc. 85-47,

¶ 7; Doc. 85-49, ¶ 10). Rutland, Bowling, and Williams testified that officers “did

[their] best to reduce [inmate] fights by making sure inmates were observed/supervised,

and by paying careful attention to any reports or requests to separate inmates who did

not get along, and by removing inmates from cellblocks when they were in fear for their

safety.” (Doc. 85-44, ¶ 7; Doc. 85-46, ¶ 5; Doc. 85-47, ¶ 7). Officers typically do not

inform Williamson of inmate assaults unless a serious assault requires an inmate’s

hospitalization. (Doc. 85-49, ¶ 10).

       Commissioner Gardiner acknowledged his general awareness of “safety and

security issues, including for inmates and for officers, that are presented by the way [the

jail] facility is set up,” but he testified he did know of any incidents where inmates hurt

other inmates. (Doc. 85-54, at 7). Commissioner Black testified he never had any

discussions with the Sheriff or any other party regarding whether the physical state of

the jail presented challenges to inmate safety, as inmate safety constituted “a

management responsibility,” which did not fall under the “purview of [his] duties as a
                                            45
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commissioner.” (Doc. 85-55, at 28). He also testified that he did know about any

problems with inmate-on-inmate violence until Plaintiffs filed these lawsuits. (Id. at 31).

IX.    The Colbert County Commission’s Stance on Jail Upkeep and
       Constructing a New Jail

       Commissioner Creekmore acknowledged there exists “little debate that the

[Colbert County] jail is an aged facility and needs to be larger.” (Doc. 85-57, ¶ 4; see

also Doc. 85-56, at 17 (“[T]he facility has some age on it.”)). Commissioner Gardiner

agrees. (Doc. 85-54, at 5 (“Q: In . . . general, would you agree that there’s a, you

know, need to replace the current jail? A: Yes.”)). In fact, County officials began

discussing the jail’s deficiencies as early as the 1970s, and constructing a new jail

emerged as a political issue in the 1998 Sheriff’s race. (Doc. 85-54, at 5; Doc. 85-55,

at 30, 42). However, Commissioner Black testified that the Commission did not “have

to do anything,” because they had been “funding the jail properly . . . according to the

law,” and even though the jail “is an older facility, . . . it still functions and operates as .

. . the law intends.” (Doc. 85-55, at 10).

       The County Commission formed committees as early as 2009 to explore the

possibility and costs of construction. (Doc. 85-54, at 7-8; Doc. 85-55, at 10, 12; Doc.

85-56, at 8-9). However, as of Sheriff Williamson’s September 17, 2020, deposition,

the committee had not met “in a while.” (Doc. 85-48, at 51).

       The Commission has received building cost estimates as high as $20,000,000.

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       To finance the construction, the County would have to issue a bond that
       must be backed by a revenue stream. The revenue stream will have to be
       in the form of a tax. The County generally does not have taxing authority.
       To accomplish obtaining a tax, the County must request that the local
       delegation of the legislature have an act passed by the legislature. If there
       is an objection from any of the local delegation, the tax proposal is dead.
       If the delegation agrees, an act is passed that proposes the tax but allows
       the citizens to vote on it. Only if a majority of the voters agree, the tax
       will come into effect. Then the bond can be obtained, and only then
       construction can begin.

(Doc. 85-57, ¶ 6; see also Doc. 85-56, at 7).

       As of January 2021, the County had not “convince[d] the local delegation to

support legislation for a tax for the construction of a new jail.” (Doc. 85-57, ¶ 6).

Likewise, the local community has not pushed for the construction of a new jail. (Doc.

85-54, at 8). The Commission continues to explore “every option to obtain funding

for the jail,” but in the meantime, it has “committed to maintaining the existing jail to

exceed constitutional requirements.” (Doc. 85-57, ¶ 6).

       Creekmore has placed “prime importance” on maintaining the jail due to its age

and rate of deterioration, and he instructed the County’s maintenance department to

afford jail maintenance tasks priority over other tasks. (Id. ¶ 4). During 2018 and

2019, the maintenance department remodeled the elevator, showers, and dispatch area

of the jail; painted the entire jail; and installed a new HVAC system. (Doc. 85-53, ¶ 3-

4; Doc. 85-57, ¶ 4).



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       The County Commission has increased the jail’s funding each year, enabling

additional jailer positions, increased jailer pay, and additional supplies, maintenance and

repairs. The Sheriff’s Office and jail operations budget comprise approximately 40%

of the County’s total expenditures, which equates to approximately 48% after factoring

out earmarked expenditures. (Doc. 85-49, ¶ 21; Doc. 85-53, ¶ 4; Doc. 85-57, ¶¶ 4-5;

Doc. 85-58; Doc. 85-59).

X.     Expert Witness Testimony

       Colbert County retained Joshua Arnold, a Captain in the Pima County, Arizona,

Sheriff’s Department, to provide an expert opinion regarding “the Colbert County

Sheriff’s Office Detention Facility’s responsibility for operating a correctional facility

and any perceived failure regarding detention staff’s duty to protect inmates.” (Doc.

85-61, at 2, 9). Arnold opined:

              Sheriff Williamson recognized that improvements were in order at
       Colbert County Jail and solicited the National Institute for Jail Operations
       to conduct a sweeping audit. The purpose of the audit was for Sheriff
       Williamson to determine exactly what deficiencies existed at the Colbert
       County Jail and decide on a path in which to institute the improvements.
       The fact that Sheriff Williamson solicited the audit from the National
       Institute for Jail Operations demonstrates he was in fact not deliberately
       indifferent to conditions at the Colbert County Jail.

              I have found nothing in my review of the materials that suggest[s]
       a “security crisis” existed at the Colbert County Jail. Over the period of
       years fights and typical violence have taken place but nothing to suggest
       that a specific gang of inmates was organized and promoted increased
       violence against other inmates. Corrections staff acted appropriately

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       when addressing each incident in this case by separating the inmates and
       ensuring they received prompt medical attention.

               It is alleged that Colbert County is at fault for placing Peter Capote,
       accused but not guilty of capital murder, in the same housing unit as three
       of the defendants. Colbert County Jail Officials utilize a classification
       system based on a number of factors that include allowing each detainee
       to look over a list of individuals in the housing unit to make sure they had
       no enemies. They have access to criminal and institutional history that is
       critical to determine classification. In addition, they used their unique
       expertise to evaluate each individual inmate and make a determination as
       to the best place to house them. In small communities, where citizens
       often know one another, this method would be very effective. Housing
       an inmate based solely on their criminal charges would be unwise and a
       violation of that inmate[’]s rights. Courts have held that small jails in
       particularly [sic] are only required to have a classification system with a
       very limited spectrum.

             Colbert County has drastically increased the resources allotted to
       the Colbert County Corrections Facility. This increase demonstrates the
       commitment to the safety and security of the inmate population housed
       at Colbert County Jail. Sheriff Williamson and the Colbert County
       Commission have demonstrated through their actions outlined in this
       report that they have not been deliberately indifferent but have been
       proactive in instituting positive change at Colbert County Jail.

(Id. at 27).

       Of particular note, Arnold signed his report on March 24, 2020, well after the

May 2016 to April 2018 period traversing Plaintiffs’ assaults. And, the report does not

indicate when the Defendants implemented any improvements to the jail, the large

majority of which do not pertain to the challenged conditions alleged in this action.

(See id. at 17-23).


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                                      DISCUSSION

I.     By Not Responding to Defendants’ Summary Judgment Arguments,
       Plaintiff Alexander Abandoned His Failure to Protect Claims Against
       Individual Jailers Halcomb and Rutland, and All Plaintiffs Abandoned
       Their Claims for Declaratory and Injunctive Relief

       Plaintiff Alexander asserted a failure-to-protect claim against individual jailers

Heath Halcomb and Marcus Rutland, who still served as a jailer, not as Jail

Administrator, during the time period relevant to Alexander’s claims.                  Those

Defendants argued in their summary judgment briefs that the doctrine of qualified

immunity protected them from liability on Alexander’s failure to protect claim. (See

Doc. 94 in 3:18-cv-01296-HNJ, at 16-33). Plaintiffs did not respond to Defendants’

arguments in their consolidated summary judgment response brief. (See Doc. 99 in

3:18-cv-01296-HNJ). Rather, the response brief refers to Colbert County, Sheriff

Williamson, and Jail Administrators Bowling and Rutland collectively as “the sheriff

defendants” (see id. at 9), and Plaintiffs discuss only their claims against the “sheriff

defendants” when they argue against summary judgment.

       The failure of a party to oppose a claim in a pending motion may constitute an

abandonment of such claim. See, e.g., Coal. for the Abolition on Marijuana Prohibition v. City

of Atlanta, 219 F.3d 1301, 1326 (11th Cir. 2000) (finding that a party’s failure to brief and

argue an issue before the district court renders the claims abandoned); Hooper v. City of

Montgomery, 482 F. Supp. 2d 1330, 1334 (M.D. Ala. 2007) (concluding that a plaintiff’s

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failure to respond to claims in a defendant’s motion to dismiss resulted in dismissal of

those claims as abandoned). By declining to respond to Defendants’ arguments

regarding Alexander’s direct, failure-to-protect claims against Halcomb and Rutland,

Plaintiffs impliedly heeded the merits of Defendants’ contentions regarding those

claims. See, e.g., Edmondson v. Bd. of Trs. of Univ. of Ala., 258 F. App’x. 250, 253 (11th Cir.

2007) (finding that “grounds alleged in the complaint but not relied upon in summary

judgment are deemed abandoned”) (citing Resolution Tr. Corp. v. Dunmar Corp., 43 F.3d

587, 599 (11th Cir. 1995)). The court thus finds Alexander abandoned his direct,

failure-to-protect claims against Halcomb and Rutland, and will grant summary

judgment in those Defendants’ favor on those claims.

       In addition, each Plaintiff requested “[a]ppropriate declaratory and injunctive

relief to remedy the unlawful policies and customs at the jail.” (Doc. 25 in 3:18-cv-

01218-HNJ, ¶ 96(a); Doc. 34 in 3:18-cv-01296-HNJ, ¶ 65(a); Doc. 26 in 3:18-cv-01382-

HNJ, ¶ 91(a); Doc. 1 in 3:18-cv-01755-HNJ, ¶ 91(a); Doc. 1 in 3:20-cv-00333-HNJ, ¶

31(a)). Defendants moved for summary judgment on those items of relief. (See Doc.

88 in 3:18-cv-01218-HNJ, at 60-62; Doc. 94 in 3:18-cv-01296-HNJ, at 78-79; Doc. 83

in 3:18-cv-01382-HNJ, at 68-69; Doc. 74 in 3:18-cv-01755-HNJ, at 57-58; Doc. 29 in

3:20-cv-00333-HNJ, at 45-47). Plaintiffs did not respond to Defendants’ arguments

in their consolidated summary judgment response brief. (See Doc. 93 in 3:18-cv-

01218-HNJ; Doc. 99 in 3:18-cv-01296-HNJ; Doc. 88 in 3:18-cv-01382-HNJ; Doc. 79
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in 3:18-cv-01755-HNJ; Doc. 34 in 3:20-cv-00333-HNJ).                 Therefore, Plaintiffs

abandoned their claims for declaratory and injunctive relief, and the court will grant

summary judgment in Defendants favor on those claims. See Edmondson, 258 F. App’x.

at 253 (citing Resolution Tr. Corp., 43 F.3d at 599).

II.    Genuine Disputes of Material Fact Preclude Qualified Immunity for
       Sheriff Williamson and Jail Administrators Bowling and Rutland on
       Plaintiffs’ Excessive Risk of Inmate Violence Claims

       Williamson, Bowling, and Rutland assert that the doctrine of qualified immunity

protects them from liability on Plaintiffs’ excessive risk of inmate violence claims.

Qualified immunity protects government officials performing discretionary functions

in their individual capacities from civil suit and liability “‘insofar as their conduct does

not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.’” Hill v. Cundiff, 797 F.3d 948, 978 (11th Cir. 2015) (quoting

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).

       “When a court concludes [an official] was engaged in a discretionary function,

‘the burden shifts to the plaintiff to show that the defendant is not entitled to qualified

immunity.’” Hill, 797 F.3d at 978 (emphasis in original) (citation omitted). There

exists no dispute Williamson, Bowling, and Rutland performed discretionary functions

in these circumstances, so Plaintiffs bear the burden of persuasion on the balance of

the qualified immunity inquiry: whether Williamson, Bowling, and Rutland violated a


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constitutional right, and whether the right was clearly established at the time of the

alleged violation.

       When determining whether the law clearly established relevant conduct as a

constitutional violation, courts consider whether officers possessed “fair warning” that

the conduct at issue violated a constitutional right. Gaines v. Wardynski, 871 F.3d 1203,

1208 (11th Cir. 2017). The assessment of fair warning may proceed in three methods:

       First, the plaintiffs may show that a materially similar case has already been
       decided. Second, the plaintiffs can point to a broader, clearly established
       principle that should control the novel facts of the situation. Finally, the
       conduct involved in the case may so obviously violate the constitution that
       prior case law is unnecessary. Under controlling law, the plaintiffs must
       carry their burden by looking to the law as interpreted at the time by the
       United States Supreme Court, the Eleventh Circuit, or the [relevant State
       Supreme Court].

       ***
       The second and third methods are generally known as “obvious clarity”
       cases. . . . They exist where the words of the federal statute or
       constitutional provision at issue are “so clear and the conduct so bad that
       case law is not needed to establish that the conduct cannot be lawful,” or
       where the case law that does exist is so clear and broad (and “not tied to
       particularized facts”) that “every objectively reasonable government
       official facing the circumstances would know that the official’s conduct
       did violate federal law when the official acted.” . . . Cases do not often
       arise under the second and third methods.
Id. at 1208-09 (alteration and emphasis in original) (citations omitted).15


15
   Despite Plaintiffs’ entreaties, these cases cannot proceed under the second or third methods of
evaluating officers’ entitlement to qualified immunity. First, the Eighth Amendment’s (by way of the
Fourteenth Amendment’s) terms do not provide a straightforward, clear assessment of the claims at
issue, and as these cases demonstrate, the case law relies upon particularized facts vis-à-vis specified
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        When the court relies upon factually similar case law, it

    must look at the facts in the precedent and at the facts that confronted the
    government official in the case before the court. The two sets of facts must
    be materially similar. For qualified immunity purposes, a preexisting
    precedent is materially similar to the circumstances facing an official when
    the specific circumstances facing the official are enough like the facts in the
    precedent that no reasonable, similarly-situated official could believe that the
    factual differences between the precedent and the circumstances facing the
    official might make a difference to the conclusion about whether the official’s
    conduct was lawful or unlawful, in the light of the precedent. Thus, every
    fact need not be identical. But minor variations in some facts (the precedent
    lacks an arguably significant fact or contains an additional arguably
    significant fact not in the circumstances now facing the official) might be
    very important and, therefore, be able to make the circumstances facing an
    official materially different from the preexisting precedents, leaving the law
    applicable – in the circumstances facing the official – not clearly established
    when the defendant official acted.

Marsh v. Butler Cnty., Ala., 268 F.3d 1014, 1032 (11th Cir. 2001) (en banc) (emphasis in

original), abrogated on other grounds by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).




conditions and features. In a nutshell, determining whether a Sheriff and/or Jail Administrator
demonstrated deliberate indifference to a substantial risk of excessive inmate assaults generally
constitutes a fact-specific inquiry. As the Supreme Court has held, not “every injury suffered by one
prisoner at the hands of another . . . translates into constitutional liability for prison officials
responsible for the victim’s safety.” Farmer v. Brennan, 511 U.S. 825, 834 (1994). Only “an excessive risk
of inmate-on-inmate violence at a jail creates a substantial risk of serious harm; ‘occasional, isolated
attacks by one prisoner on another may not constitute cruel and unusual punishment, [but]
confinement in a prison where violence and terror reign is actionable.’” Purcell ex rel. Estate of Morgan
v. Toombs Cnty., Ga,, 400 F.3d 1313, 1320 (11th Cir. 2005) (alteration in original) (emphasis added)
(citation omitted). That determination necessarily involves a contextual assessment of the relevant
facts, as does assessing the reasonableness of Defendants’ response to the risk. Thus, the court must
examine factually similar case law to assess Defendants’ entitlement to qualified immunity. See Marsh
v. Butler Cnty., Ala.,, 268 F.3d 1014, 1031 (11th Cir. 2001) (en banc) (“Two sets of circumstances may be
‘nearly’ the same, but ‘nearly’ can make a great legal difference at the edge.”).
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       Importantly for the qualified immunity determination, “courts may not resolve

genuine disputes of fact in favor of the party seeking summary judgment.” Tolan v.

Cotton, 572 U.S. 650, 656 (2014) (citation omitted). A “‘judge’s function’ at summary

judgment is not ‘to weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial.’”             Id. (citation omitted).

Therewith, movants must show “‘there is no genuine issue as to any material fact and

[they are] entitled to judgment as a matter of law,’” and courts “must view the evidence

“in the light most favorable to the opposing party.’” Id. at 656-57 (citations omitted).

Accordingly, the Court’s “qualified-immunity cases illustrate the importance of drawing

inferences in favor of the nonmovant, even when . . . a court decides only the clearly-

established prong of the standard.” Id. at 657. Therefore, “courts must take care not

to define a case’s ‘context’ in a manner that imports genuinely disputed factual

propositions.” Id. (citation omitted).

       Applying the foregoing precepts demonstrates that genuine disputes of material

fact preclude Williamson, Bowling, and Rutland from entitlement to qualified immunity

for Plaintiffs’ excessive risk of inmate violence claims.

       A.     Legal Framework for Excessive Risk of Inmate Violence Claims

       “‘[P]rison officials have a duty . . . to protect prisoners from violence at the hands

of other prisoners.’” Farmer v. Brennan, 511 U.S. 825, 833 (1994) (ellipsis in original)

(citations omitted).
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       Having incarcerated “persons [with] demonstrated proclivit[ies] for
       antisocial criminal, and often violent, conduct,” Hudson v. Palmer, . . . , 468
       U.S.[ 517, 526 (1984)] , having stripped them of virtually every means of
       self-protection and foreclosed their access to outside aid, the government
       and its officials are not free to let the state of nature take its course.
       Cf. DeShaney[ v. Winnebago Cty. Dep’t of Soc. Servs.,] 489 U.S. [189,] 199-200[
       (1989)]; Estelle[v. Gamble], 429 U.S. [97,] 103-104[ (1976)]. Prison
       conditions may be “restrictive and even harsh,” Rhodes[ v. Chapman], 452
       U.S.[ 337,] 347[ (1981)], but gratuitously allowing the beating or rape of
       one prisoner by another serves no “legitimate penological
       objectiv[e],” Hudson v. Palmer, supra, 468 U.S., at 548, 104 S. Ct., at 3211
       (STEVENS, J., concurring in part and dissenting in part), any more than
       it squares with “‘evolving standards of decency,’” Estelle, supra, 429 U.S.,
       at 102, 97 S. Ct., at 290 (quoting Trop v. Dulles, 356 U.S. 86, 101, 78 S. Ct.
       590, 598, 2 L. Ed. 2d 630 (1958) (plurality opinion)). Being violently
       assaulted in prison is simply not “part of the penalty that criminal
       offenders pay for their offenses against society.” Rhodes, supra, 452 U.S., at
       347, 101 S. Ct., at 2399.

Farmer, 511 U.S. at 833-34 (alterations to case citations added, other alterations in

original).

       To be sure, officials cannot guarantee an inmate’s safety in all circumstances.

Purcell ex rel. Estate of Morgan v. Toombs Cnty., Ga., 400 F.3d 1313, 1321 (11th Cir. 2005)

(quoting Popham v. City of Talladega, 908 F.2d 1561, 1564 (11th Cir. 1990)). Not “‘every

injury suffered by one prisoner at the hands of another . . . translates into [a]

constitutional liability . . . .’” Purcell, 400 F.3d at 1319 (quoting Farmer, 511 U.S. at 833

(alterations in original) (citations omitted)).      Nevertheless, “[w]ithin [a prison’s]

volatile ‘community,’ prison administrators are . . . under an obligation to take



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reasonable measures to guarantee the safety of the inmates.” Hudson, 468 U.S. at 526-

27 (first alteration supplied).

        Bearing in mind all those concerns, Plaintiffs may advance excessive inmate-on-

inmate violence claims by demonstrating “‘(1) a substantial risk of serious harm; (2) the

defendants’ deliberate indifference to that risk; and (3) causation.’” Goodman v.

Kimbrough, 718 F.3d 1325, 1331 (11th Cir. 2013) (quoting Carter v. Galloway, 352 F.3d

1346, 1349 (11th Cir. 2003) (per curiam)).16


16
   As Colbert County detained all Plaintiffs while they awaited trial on their respective criminal charges,
the Fourteenth Amendment, not the Eighth Amendment, governs Plaintiffs’ claims. Grochowski v.
Clayton Cty., Georgia through Turner, 961 F.3d 1311, 1318 (11th Cir. 2020), cert. denied sub nom. Grochowski
v. Clayton Cty., Georgia, 141 S. Ct. 1269, 209 L. Ed. 2d 9 (2021) (citing Hamm v. DeKalb Cty., 774 F.2d
1567, 1572 (11th Cir. 1985); Bell v. Wolfish, 441 U.S. 520, 535 n.16 (1979)); see also Dickinson v. Cochran,
833 F. App’x 268, 271 n.3 (11th Cir. 2020) (“Because Dickinson was a detainee and not a prisoner, his
‘constitutional rights arise not from the Eighth Amendment, but from the Due Process Clause of the
Fourteenth Amendment.’” Hale v. Tallapoosa County, 50 F.3d 1579, 1582 (11th Cir. 1995) (citations and
quotations omitted). As the Eleventh Circuit recently reiterated, so long as pretrial detention
conditions of confinement and restrictions have a “legitimate governmental objective” and are not
imposed for the purpose of punishment, the Fourteenth Amendment is not violated. Grochowski 961
F.3d at 1318 n.3 (citations omitted). Thus, Defendants violated the Fourteenth Amendment if they
subjected Plaintiffs to a risk of inmate-on-inmate violence that lacked a legitimate governmental
objective and only imposed punitive consequences.

       However, circuit precedent obligates application of the Eighth Amendment conditions-of-
confinement standard:

        When analyzing claims under the Due Process Clause, the Eleventh Circuit often
        refers to precedent under the Eighth Amendment’s Cruel and Unusual Punishment
        Clause. Keith v. DeKalb Cty., 749 F.3d 1034, 1044 n.35 (11th Cir. 2014) (quoting City of
        Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244, 103 S. Ct. 2979, 77 L. Ed. 2d 605
        (1983)); see also Cottrell v. Caldwell, 85 F.3d 1480, 1490 (11th Cir. 1996). The Eleventh
        Circuit has thus recognized that “[a] prison official’s deliberate indifference to a
        known, substantial risk of serious harm to an inmate violates the Fourteenth
        Amendment.” Keith, 749 F.3d at 1047 (alteration incorporated) (quoting Marsh v. Butler
        Cty., 268 F.3d 1014, 1028 (11th Cir. 2001) (en banc), abrogated on other grounds by Bell Atl.
        Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)).
                                                       57
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        B. Farmer v. Brennan, Not the Supervisory Liability Causal Connection
           Standard, Provides the Appropriate Framework for Plaintiffs’
           Excessive Risk of Inmate Violence Claims

        When a plaintiff sues officials in their supervisory capacities, the claim may not

rest upon the doctrine of respondeat superior or the officials’ vicarious liability for their

subordinates’ actions. Keith v. DeKalb Cty., Georgia, 749 F.3d 1034, 1047 (11th Cir. 2014)

(quoting Cottone v. Jenne, 326 F.3d 1352, 1360 (11th Cir. 2003), abrogated in part on other

grounds by Randall v. Scott, 610 F.3d 701 (11th Cir. 2010)) (“‘[I]t is well established in this

Circuit that supervisory officials are not liable under § 1983 for the unconstitutional acts

of their subordinates on the basis of respondeat superior or vicarious

liability.’”). Rather, “supervisory liability under § 1983 occurs either when the

supervisor personally participates in the alleged unconstitutional conduct or when there

is a causal connection between the actions of a supervising official and the alleged

constitutional deprivation.” Cottone, 326 F.3d at 1360.

        A causal connection may be established when: 1) a “history of widespread
        abuse” puts the responsible supervisor on notice of the need to correct
        the alleged deprivation, and he fails to do so; 2) a supervisor’s custom or
        policy results in deliberate indifference to constitutional rights; or 3) facts
        support an inference that the supervisor directed the subordinates to act



Grochowski, 961 F.3d at 1318 (alteration in original)

        Stated differently, courts predominantly apply Eighth Amendment standards to Fourteenth
Amendment cases in this context: if an official subjects a pretrial detainee to cruel and unusual
punishment pursuant to Eighth Amendment standards, the official also has inflicted punitive
conditions lacking a legitimate governmental objective under the Fourteenth Amendment.
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       unlawfully or knew that the subordinates would act unlawfully and failed
       to stop them from doing so.

Valdes v. Crosby, 450 F.3d 1231, 1237 (11th Cir. 2006) (citing Cottone, 326 F.3d at 1360).

“The standard by which a supervisor is held liable in [his] individual capacity for the

actions of a subordinate is extremely rigorous.” Braddy v. Florida Dep’t of Labor &

Employment Sec., 133 F.3d 797, 802 (11th Cir. 1998).

       Plaintiffs’ response brief contends that Williamson, Bowling, and Rutland bear

liability because of their status as supervisors, specifically positing a causal connection

between those Defendants’ actions and their own constitutional injuries. (See Doc. 93

in 3:18-cv-01218-HNJ, at 48-49; Doc. 99 in 3:18-cv-01296-HNJ, at 48-49; Doc. 88 in

3:18-cv-01382-HNJ, at 48-49; Doc. 79 in 3:18-cv-01755-HNJ, at 48-49; Doc. 34 in 3:20-

cv-00333-HNJ, at 48-49 (“As a starting point, the sheriff defendants are not absolved

from liability merely because they were not personally involved in the assaults. . . .

Instead, plaintiffs need only provide evidence from which a reasonable jury could

conclude there is a ‘causal connection’ between defendants’ actions and the assault

against them.”)). Plaintiffs argue they can establish a causal connection between their

constitutional injuries and the actions of Williamson, Bowling, and Rutland through the

first two methods by demonstrating a history of widespread abuse and a custom or

policy resulting in deliberate indifference.



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      However, after a review of the case law, the court concludes it should not frame

the analysis in such a fashion. Eleventh Circuit cases discussing excessive inmate-on-

inmate violence claims do not resort to the supervisory liability causal connection

framework; rather, precedent focuses upon whether a plaintiff suffered injury as a result

of the official’s deliberate indifference to a substantial risk of serious harm. Farmer,

511 U.S. at 835-38. As those cases provide, supervisory liability ensues, so long as

Plaintiffs satisfy the Farmer standard, because defendants personally participated in the

unconstitutional conditions of confinement due to the responsibility wielded by such

officials for control and maintenance of the facilities. C.f., Q.F. v. Daniel, 768 F. App’x

935, 946 (11th Cir. 2019) (“[T]he defendants’ supervisory positions suggest, at least by

inference, that the defendants were aware of the staffing, classification, and segregation

issues at Eastman.”) (citing Farmer, 511 U.S. at 842 (allowing the plaintiff to establish

subjective knowledge of a risk by inference or from circumstantial evidence)).

      In Marbury v. Warden, 936 F.3d 1227, 1231 (11th Cir. 2019), the plaintiff, a state

prisoner, asserted excessive risk of inmate violence claims against a warden and a

corrections officer for the failure to protect him from assault by another prisoner. Id.

at 1231. The Eleventh Circuit assessed whether the plaintiff’s injuries resulted from

the defendants’ deliberate indifference to a substantial risk of serious harm, but it did

not mention the supervisory liability causal connection factors, even though the


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warden’s liability ensued from his responsibilities in a supervisory position. Id. at

1232-33.

       In Keith v. DeKalb Cty., Georgia, 749 F.3d 1034 (11th Cir. 2014), the Eleventh Circuit

mentioned the supervisory liability causal connection standard. Yet in assessing the

liability of the sheriff, it stated: “Turning to the matter at hand, in order to prove that

Sheriff Brown violated Cook’s constitutional rights, Keith must show that the Sheriff

Brown [sic] had subjective knowledge of a risk of serious harm to Cook and that he

recklessly disregarded that risk.” Id. at 1048.

       In Marsh v. Butler Cty., Ala., 268 F.3d 1014 (11th Cir. 2001), a convicted inmate

and a pretrial detainee sued Butler County, Alabama, the Butler County Commission,

and the Sheriff for deliberate indifference to dangerous conditions, including excessive

inmate-on-inmate violence, at the Butler County Jail that allegedly led to their assaults

at the hands of other inmates.        Id. at 1023-26. The Eleventh Circuit discussed

whether the Sheriff demonstrated deliberate indifference to a serious risk of substantial

harm, but it did not mention the supervisory liability standard. Id. at 1028-34.

       In Hale v. Tallapoosa Cty., 50 F.3d 1579 (11th Cir. 1995), the plaintiff asserted

claims against a Sheriff and a jailer for their alleged deliberate indifference to an

excessive risk of inmate violence at the jail. Id. at 1580. The Eleventh Circuit noted

that to prevail against the Sheriff and jailer, the plaintiff “was required to show that they

were personally involved in acts or omissions that resulted in the constitutional
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deprivation,” but the Court did not discuss the Sheriff’s supervisory liability. Id. at

1582.    Rather, the discussion focused upon whether the Sheriff demonstrated

deliberate indifference to a substantial risk of serious harm. Id. at 1582-85. See also

Purcell, 400 F.3d 1313 (no discussion of the supervisory liability, causal connection

standard); Q.F., 768 F. App’x 935 (same).

        Based upon this authority, the court does not need to confine its analysis to the

Eleventh Circuit’s supervisory liability causal connection framework.                      Rather,

pursuant to Farmer v. Brennan and other precedent, the court will assess whether the

assaults Plaintiffs suffered resulted from Defendants’ deliberate indifference to a

substantial risk of inmate violence. Even so, the court heeds the Eleventh Circuit’s

admonition that Defendants’ liability cannot rest upon the doctrine of respondeat

superior, and the Supreme Court’s admonition that it should only hold Defendants

liable for their own misconduct. See Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009); Keith, 749

F.3d at 1047.      The court may ultimately hold each Defendant liable onlyif his own

actions or inactions demonstrated deliberate indifference to Plaintiffs’ safety.17




17
   In any event, the court notes the supervisory liability causal connection framework occupies
common ground with the Farmer v. Brennan deliberate indifference analysis. The supervisory liability
standard assesses whether a supervisor failed to correct deprivations despite knowledge of a history
of widespread abuse. If a plaintiff achieved that showing, he also could likely demonstrate that the
official disregarded a substantial risk of serious harm. The supervisory liability framework
alternatively assesses whether a supervisor’s custom or policy results in deliberate indifference to
constitutional rights, leading to even more direct overlap with the Farmer standard.
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       C. Genuine Disputes of Material Facts Portray Triable Claims for
          Deliberate Indifference to an Excessive Risk of Inmate Violence
          Pursuant to Clearly Established Constitutional Law

       Plaintiffs have depicted genuine disputes of material fact whether Defendants

violated their Fourteenth Amendment right to be free from an excessive risk of inmate

violence pursuant to clearly established constitutional law.

           1. A reasonable juror could conclude Plaintiffs suffered a substantial
              risk of serious harm due to excessive inmate violence

       As an initial matter, the Fourteenth Amendment (by way of Eighth Amendment

standards) “requires that inmates be furnished with the basic human needs, one of

which is ‘reasonable safety.’ . . . It is ‘cruel and unusual punishment to hold convicted

criminals in unsafe conditions.’” Helling v. McKinney, 509 U.S. 25, 33 (1993) (citations

omitted); see also Harrison v. Culliver, 746 F.3d 1288, 1298 (11th Cir. 2014) (“Prison

officials have an obligation to protect prisoners from violence inflicted upon them by

other prisoners.”); Zatler v. Wainwright, 802 F.2d 397, 400 (11th Cir. 1986) (“[I]t is well

settled that a prison inmate has a constitutional right to be protected from the constant

threat of violence and from physical assault by other inmates.”) (citing, inter alia, Gullatte

v. Potts, 654 F.2d 1007, 1012 (5th Cir. 1981)).

       Courts objectively assess the first element of a claim for excessive risk of inmate

violence by inquiring whether jail “‘conditions . . . were extreme and posed an

unreasonable risk of serious injury to [the inmate’s] health or safety.” Marbury, 936

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F.3d at 1233 (quoting Lane v. Philbin, 835 F.3d 1302, 1307 (11th Cir. 2016)); see also

Harrison, 746 F.3d at 1298 (quoting Marsh, 268 F.3d at 1028-29) (The first element of

the deliberate indifference claim requires Plaintiffs to “demonstrate ‘an objectively

substantial risk of serious harm to prisoners.’”).

            In general, a plaintiff must show “more than a generalized awareness
       of risk” to make out a deliberate-indifference claim. While “occasional,
       isolated attacks by one prisoner on another may not constitute cruel and
       unusual punishment, . . . . confinement in a prison where violence and
       terror reign is actionable.” To establish deliberate indifference based on
       a generalized risk, the plaintiff must show “that serious inmate-on-inmate
       violence was the norm or something close to it.”

Marbury, 936 F.3d at 1234 (footnotes and citations omitted).

       Several decisions present clearly established law as to the circumstances evincing

an excessive risk of inmate violence. In particular, the Eleventh Circuit’s decision in

Marbury, 936 F.3d 1227, establishes the standard and factors a court must review to

determine whether a facility maintains an excessive risk of inmate violence. As the

following review portrays, Marbury requires a plaintiff to demonstrate an appreciable

rate of assaults, and specific features of the facility or its population, to satisfy this prong

of the Farmer standard for excessive inmate violence claims. Id. at 1234-35.

       In Marbury, a state inmate sued a warden and corrections officer for deliberate

indifference to a substantial risk to his safety. Id. at 1231.        On February 12, 2016,

he submitted a written request to the warden to transfer him to a different dormitory

because in his dormitory, he had witnessed over 15 inmate-on-inmate stabbing
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incidents that appeared to relate to gang activity. He also made several in-person

transfer requests to a corrections officer, but the warden and officer either ignored or

denied his requests. On April 5, 2016, Marbury followed up on his written request to

the warden because he had witnessed prisoners disrespecting and attacking security staff

without consequences.18 On April 23, 2016, another inmate stabbed Marbury and hit

him in the face, breaking his nose. Id. at 1231-32.

       The Eleventh Circuit found those facts insufficient to support a claim for an

excessive risk of inmate violence. Marbury did not provide evidence regarding the

total prison population, the sections of the prison in which the attacks occurred, or the

relevant time period. If the 15 stabbings Marbury identified spread over the course of

his six-year incarceration, they occurred at an average rate of only 2.5 incidents per year.

The Eleventh Circuit found that frequency presented only “some generalized risk of

attack,” not “serious inmate-on-inmate violence [that] was so pervasive that it

constitutes a substantial risk of serious harm to which defendants were deliberately

indifferent.” Id. at 1234.

       The Court noted that in past cases, it found litigants had not established this

prong of the Farmer standard when inmate violence occurred with even more


18
  Marbury also claimed the officer and the warden ignored and/or denied his requests for isolation
because he heard another inmate wanted to hurt him. Marbury, 936 F.3d at 1231-32. That claim
does not relate to the present controversy, as none of the present Plaintiffs argues they requested
isolation or complained of a specific threat.
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prevalence than the conditions Marbury described. For example, in Harrison v. Culliver,

746 F.3d 1288 (11th Cir. 2014), the plaintiff did not present a viable claim for deliberate

indifference to inmate-on-inmate violence when the warden knew of 33 inmate-on-

inmate assaults between 2005 and August 6, 2008 (or approximately one assault every

39.8 days, assuming a start date of January 1, 2005), in a prison population comprising

830 to 990 inmates. Marbury, 936 F.3d at 1234-35 (citing Harrison, 746 F.3d at 1298).

Therefore, Marbury requires a demonstration of an appreciable rate of inmate-on-inmate

assaults.

       Moreover, the Court emphasized that in past cases “when we have held that a

generalized risk of violence from a prison population could support a claim of deliberate

indifference to a substantial risk of serious harm, the plaintiff has pointed to specific

features of a facility or its population rendering it particularly violent,” including

“pervasive staffing and logistical issues rendering prison officials unable to address

near-constant violence, tensions between different subsets of a prison population, and

unique risks posed by individual prisoners or groups of prisoners due to characteristics

like mental illness.”   Marbury, 936 F.3d at 1235. Because Marbury did not assert any

“allegations regarding the specific features of the prison that would make it particularly

violent,” he could not have prevailed even if he “had shown a risk of generalized prison

violence.” Id.; see also Green v. Hooks, 798 F. App’x 411, 427 (11th Cir.), cert. denied, 141

S. Ct. 249 (2020) (“Nor has Green pointed to any evidence that specific features of
                                             66
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Rodgers or its population render it particularly dangerous. Because Green has failed to

offer evidence of pervasive staffing issues, logistical issues, or other risks posed by the

prison population in Rodgers, we cannot say that Green has proven that the conditions

at Rodgers posed a substantial risk of serious harm.”) (footnotes omitted).

       To support that analysis, the Eleventh Circuit cited its previous decisions in Lane

v. Philbin, 835 F.3d 1302 (11th Cir. 2016), Cottone v. Jenne, 326 F.3d 1352 (11th Cir. 2003),

abrogated in part on other grounds by Randall v. Scott, 610 F.3d 701 (11th Cir. 2010), and Hale

50 F.3d 1579. See Marbury, 936 F.3d at 1235 n. 20-22.

       In Lane, the plaintiff’s complaint alleged he suffered an assault in a prison where

a single officer supervised 100 inmates in two separate 50-man dormitories. Ninety

percent of inmates in those dormitories affiliated with a gang, and “[n]umerous

stabbings and beatings – including those of non-Muslim and non-gang inmates” – took

place. Lane, 835 F.3d at 1305-06. The dormitory residents fashioned “numerous

weapons” from materials they salvaged from their work details or extracted from the

prison structure itself. Officers were “aware of the situation” in the dormitory, but

they did not confiscate inmates’ weapons. Id. at 1306. The inmate who assaulted

Lane maintained a gang affiliation and had asserted previous threats.               Id.   The

Eleventh Circuit found Lane’s deliberate indifference claim could survive a motion to

dismiss because the facts alleged, taken together, established jail officials’ knowledge of

a substantial risk of serious harm. Id. at 1307-08. The Eleventh Circuit cited Marsh,
                                              67
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268 F.3d at 1027-28, and Williams v. Edwards, 547 F.2d 1206, 1211 (5th Cir. 1977), for

the proposition that inadequate supervision and ready access to weapon materials could

constitute a substantial risk of serious harm. Lane, 835 F.3d at 1307-08.

      In Cottone, an inmate with a history of violence and schizophrenia fatally strangled

Cottone in the Broward County, Florida, jail. Officers knew of the assailant’s mental

condition, as he struck another inmate during the booking process a month earlier, and

on the date of the incident, he acted “violent, out-of-control, and experience[ed] a

schizophrenic episode.” Cottone, 326 F.3d at 1355-56. Officers would have observed

the assailant’s schizophrenic episode if they had watched the surveillance cameras, but

they played a computer game instead. Despite the risks the assailant’s behavior and

condition presented, officers placed him and Cottone in neighboring cells without

locking the cell doors. Id. The Eleventh Circuit found the assailant’s history of

violent outbursts and mental instability, and his recent schizophrenic episode, presented

an objective risk of serious harm to Cottone. Id. at 1358.

      In Hale, a pretrial detainee in the Tallapoosa County Jail sued the Sheriff, a jailer,

and the County for violations of his Eighth and Fourteenth Amendment rights after he

suffered an assault that allegedly resulted from the defendants’ deliberate indifference

to an excessive risk of violence at the jail. Hale, 50 F.3d at 1580. The jailer placed

Hale in a 13-by-20-foot cell, or “bullpen,” that held up to 13 inmates during periods of

overcrowding.    Overcrowding had occurred regularly during the past two years,
                                            68
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including on the date of Hale’s detention, resulting in inmates sleeping on the cell floor,

sometimes without mattresses or blankets. During such periods, “fights occurred

between inmates on a regular basis and occasionally resulted in injuries requiring

medical attention and hospitalization.” Id. at 1580-81.

       Soon after 6:00 p.m. on the day of Hale’s assault, the jailer “opened the doors

between the bullpen and two adjoining bed cells, leaving the inmates to decide among

themselves who would stay in the bed cells, which had beds, and who would stay in the

bullpen.” Id. at 1581. At approximately 7:00 p.m., he re-closed the doors and

“returned to his quarters, which were out of earshot and eyesight of the bullpen.” Id.

Hale remained in the bullpen, without a mattress, blanket or pillow. Because officers

did not segregate inmates “based on their proclivity for violence or the reasons for their

confinement,” Hale shared the bullpen with another inmate detained on murder and

attempted murder charges.         Id.   The jailer next checked on the bullpen at

approximately 9:30 p.m., and the inmates greeted him with “hostile obscenities.” Id.

At approximately 10:30 p.m., the murder/attempted murder detainee and another

inmate “punched and kicked Hale repeatedly without provocation, leaving him with a

cut, bruises and contusions to his head, and an injured elbow.” Hale, 50 F.3d at 1581.

Hale yelled for help, but he did not receive a response, as the jailer did not check the

bullpen again for the remainder of his shift, which ended at midnight. In fact, Hale’s

injuries remained undetected until approximately 1:30 a.m., when the jailer on the next
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shift discovered them. After learning of the assault, officers allowed Hale to spend

the night in a different area of the jail. Id.

       The Eleventh Circuit upheld the district court’s grant of summary judgment in

favor of the jailer, but it reversed the grant of summary judgment in favor of the Sheriff

and County. Id. at 1582, 1585. The Eleventh Circuit found Hale produced sufficient

evidence of a substantial risk of serious harm because “inmate-on-inmate violence

occurred regularly when the jail was overcrowded, as it was during” the relevant time

period, and the violence occasionally escalated sufficiently to require medical attention

or even hospitalization. Id. at 1583.

       In addition, in Marsh, the Eleventh Circuit addressed whether the plaintiffs

“sufficiently stated a claim against [Butler] County, its governing body, and its Sheriff

for deliberate indifference to unsafe conditions at the county jail,” to overcome those

defendants’ assertion of qualified immunity.       Marsh, 268 F.3d at 1021-22.       The

Eleventh Circuit described the alleged conditions at the jail as follows:

               The Jail was an old building that had become extremely dilapidated
       by the summer of 1996. Inmates were able to obtain makeshift weapons
       by cannibalizing parts of the decaying building. Lack of adequate
       monitoring of the inmates allowed inmate activities to go mostly
       unchecked. Locks to the doors of the inmates’ cells did not work,
       resulting in the inability of the guards to lock down the prisoners.
       Because prisoners were never locked down, jailers were afraid to conduct
       visual inspections of inmate cells on the second floor; most of the inmate
       population was kept on the second floor. No visual or audio
       surveillance system was in place on the second floor, nor, did prisoners

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have means to contact guards other than by screaming or banging on the
walls. Jailers never conducted prisoner headcounts.

       Often, only one jailer was on duty at the Jail at a time. This single
jailer was responsible for controlling the entire inmate population,
administering inmate intake and release, controlling the gate and fence
surrounding the Jail, supervising visitation and outdoor exercise, handling
mail, coordinating food service, dispensing medication, supervising
trustees, answering the Jail telephone, and (at times) answering calls to the
Butler County Sheriff’s Department and operating the dispatch radio.
Because the Jail was understaffed, inmate trustees were given many
responsibilities for taking care of other inmates and maintaining the
operation of the Jail.

      In August 1995, the jail inspector for the Alabama Department of
Corrections recommended that all Butler County jailers be trained in jail-
management seminars. By the time of the incidents underlying the
complaint, few jailers had been so trained. Written procedures did not
govern the Jail’s operations.

       Inmates entering the Jail were not screened for mental impairments
or for whether they had conflicts with other inmates in the Jail. No
system of classification existed at the Jail: pretrial detainees were housed
with convicted inmates, nonviolent offenders with violent offenders,
juveniles with adults, and mentally ill persons with those in good mental
health. Never were prisoners disciplined or segregated for assaulting
other inmates, destroying jail property, or threatening jailers. The Jail
contained four eight-person cells, one four-person cell, trustee cells, two
holding cells, one isolation cell and a cell for female inmates; but
sometimes more than 50 inmates were imprisoned at the Jail.

       Jail Administrator Thelma Teague (“Teague”) told the Sheriff
several times that the Jail needed more staff. In February 1996, the jail
inspector for the Alabama Department of Corrections informed
Defendants that the Jail was not reasonably secure. Defendants also
received many complaints and requests for assistance from prisoners. A
letter from prisoner-rights advocates told Defendants that the Jail
conditions posed “an immediate and serious threat to the safety of the

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       inmates” and made inmates “highly vulnerable to assault by other
       inmates.”

Id. at 1024-25.

       On July 2, 1996, four inmates attacked one of the plaintiffs in his cell for several

minutes, resulting in injuries that required hospital treatment. Other inmates yelled

and banged on the walls of the cell to attract jailers’ attention, but no jailer responded

until ten to 15 minutes after the assault ended. The attackers did not receive any

discipline as a result of the incident, and the next day, they attacked the other plaintiff

in the general population day room for 30 minutes to one hour, also inflicting injuries

that eventually required hospital treatment. During the second attack, the jail posted

only one jailer on duty. That jailer called for help, and another officer responded to

assist approximately 20 minutes after the assault ended. Id. at 1025-26.

       When addressing the plaintiffs’ excessive risk of inmate violence claim against

the Sheriff, the Eleventh Circuit ruled the alleged conditions at the jail, taken as a whole,

“present[ed] an objectively substantial risk of serious harm – including the risk of

inmate-on-inmate attacks.” Id. at 1029.

       In Williams,19 the former Fifth Circuit determined the totality of the following

conditions violated prisoners’ Eighth Amendment rights:


19
  All decisions of the former Fifth Circuit handed down prior to October 1, 1981, constitute binding
precedent on this Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981).

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      During the three years preceding the Special Master’s hearings more than
      270 stabbings of inmates by other inmates were reported; 20 deaths
      resulted. This deplorable condition is due to overcrowding and to lack
      of security. Numerous “forcible rapes” were committed on inmates by
      other inmates, the total number being unknown. Inmate dormitories
      were “terribly overcrowded” and insufficient cell space existed to
      segregate dangerous prisoners from the rest of the inmate population.
      The prison staff included too few guards to protect the inmates from one
      another through either supervision or through confiscation of weapons.
      Easy inmate access to unsupervised machinery and other resources
      resulted in widespread possession of weapons. Fire and safety hazards
      constituted an “immediate threat to the life and safety” of both inmates
      and staff. Multiple health and sanitation violations were in evidence,
      including accumulation of sewage under the main kitchen (since cleaned
      out) and including a “serious rodent problem.”

Williams, 547 F.2d at 1211.

      In Gates v. Collier, 501 F.2d 1291 (5th Cir. 1974), the former Fifth Circuit

concluded the following conditions violated prisoners’ Eighth Amendment rights to

reasonable safety:

      The inmates are not classified according to the severity of their offense,
      resulting in the intermingling of inmates convicted of aggravated violent
      crimes with those who are first offenders or convicted of nonviolent
      crimes. In addition, the custodial responsibility of inmates has been
      assigned to other inmates who serve as hallboys, floorwalkers and cage
      bosses. Hallboys perform administrative duties; floorwalkers are non-
      trusties who perform custodial duties and on whose recommendation
      inmates may be punished. Cage bosses are charged with enforcing
      discipline in the barracks. The evidence is replete with instances of
      inhumanities, illegal conduct and other indignities visited by these inmates
      who exercise authority over their fellow prisoners.

            Although many inmates possess weapons, there is no established
      procedure for discovering and confiscating weapons, nor is possession of
      weapons reported or punished. The record revealed at least eighty-five
                                          73
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       instances where inmates had physically assaulted other inmates; twenty-
       seven of these assaults involved armed attacks in which an inmate was
       either stabbed, cut or shot.

              Only one civilian guard is assigned to each camp. The one civilian
       guard is prohibited from entering the cages. As stated by Superintendent
       Cook, penitentiary employees have no control over inmates after the lights
       are turned out and ‘there is no way that anyone can guard the safety of an
       inmate in the Parchman situation,’ because of the dormitory style system
       and the lack of civilian guards. The district court found that in some
       cases, supervisory personnel have allowed inmates to fight, gamble and
       acquire liquor and drugs in violation of prison rules and state law. The
       operation of the trusty system, as previously outlined, further compounds
       the dilemma of the protection of inmates.

Id. at 1308-09.

       In contrast, in Purcell ex rel. Estate of Morgan v. Toombs Cnty., Ga., 400 F.3d 1313,

1321 (11th Cir. 2005), the Eleventh Circuit declared the following conditions at a jail did

not pose a substantial risk of serious harm:

       Inmates at Toombs County Jail were segregated based on a number of
       particularized factors, including the kind of crime committed and an
       inmate’s potential personal conflicts with others. Moreover, the Jail was
       not understaffed on the night of the attack: five officers were on duty,
       which is typical for Toombs County. Jail officials had a history of
       punishing inmate violence, rather than looking the other way to preserve
       the status quo. And while inmate fighting does happen in Toombs
       County, the record is insufficient to show that serious inmate-on-inmate
       violence was the norm or something close to it. Also, the fights that did
       occur were linked to no recurring specific cause: causes ran the gamut
       from disagreements over television channels, to retaliation for pre-
       incarceration street activity, to card games, to food.

Id. at 1321-22 (footnotes omitted). Moreover, even though the evidence reflected “a

few serious fights” in the past, none of those related to money, as did the attack in
                                               74
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question in the case. Id. at 1323. Finally, the physical layout of the jail itself did not

present an excessive risk of harm because, even though guards could not see into or

hear every cell at night from the control tower, they could see and hear cell activity

when they left the tower to conduct periodic checks. Id.

       Distilling the foregoing cases, the Eleventh Circuit fostered clearly established

law delineating the conditions that would sustain an excessive risk of inmate violence

claims.     In Marsh, the Eleventh Circuit found that the Hale, Williams, and Gates

decisions (and of course, the context set forth in Marsh itself), clearly established that

jail conditions posed a substantial risk of serious harm to inmates, even though those

decisions contained different circumstances. According to the Eleventh Circuit, “no

reasonable sheriff could have concluded,” after considering the pre-existing case law,

“that the alleged conditions at the Jail failed to pose a substantial risk of serious harm.”

Marsh, 268 F.3d at 1034. The Court compared the facts of previous cases to the facts

before it as follows:

            In Hale, evidence was presented of these conditions: 1) prisoners were
       not segregated based on their proclivity for violence, 2) there was only one
       jailer on duty, 3) the jailer’s quarters were out of earshot and eyesight of
       the prisoners’ cell, and 4) fights occurred between inmates on a regular
       basis resulting in injuries requiring medical attention and hospitalization.
       In Williams, the court concluded that the totality of the circumstances posed a
       substantial risk of serious harm due to inmate violence. The
       circumstances in the prison showed this environment: 1) widespread
       possession of weapons, 2) no confiscation of weapons, 3) no segregation
       of violent from nonviolent inmates, 4) previous assaults, 5) overcrowding,
       6) too few guards to supervise properly inmates, and 7) multiple reports
                                             75
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      of stabbing, some resulting in death. In Collier, the court concluded that
      these conditions pose a serious risk of harm to inmates: 1) possession of
      weapons by prisoners, 2) no established procedure for confiscating
      weapons, 3) lack of classification according to severity of offense, 4) no
      procedure for reporting previous assaults, 5) overcrowding, 6) lack of
      supervision by guards, 7) custodial responsibility assigned to incompetent
      and untrained inmates, and 8) at least 27 reported instances of armed
      assaults by inmates on other inmates.

          In this case, Plaintiffs allege these things: 1) widespread possession of
      weapons by inmates, 2) weapons were not confiscated from prisoners, 3)
      no segregation of nonviolent inmates from violent inmates, pretrial
      detainees from convicted criminals, juveniles from adults, or inmates with
      mental disorders from those without mental disorders, 4) no discipline of
      inmates for violent behavior and previous assaults on other inmates, 5) at
      times the Jail housed more prisoners than the cells could accommodate,
      6) the Jail was understaffed, 7) inadequate supervision by jailers, and 8)
      unsupervised prisoner trustees had custodial duties for other prisoners.

Marsh, 268 F.3d at 1033 n.12 (emphasis added).

      As discussed, courts evaluate the totality of the circumstances, not whether an

environment presents an identical context as precedent, when assessing whether there

exists a substantial risk of inmate assaults. See Marsh, 268 F.3d at 1029; Gates, 501 F.2d

at 1309; Williams, 547 F.2d at 1211. For excessive risk of inmate violence claims, a

case falls within the contours of the Eleventh Circuit’s clearly established law so long

as the challenged facility exhibits an appreciable rate of assault, as well some of the

“specific features” delineated in Marbury, Marsh, Hale, Williams, and Gates, and any other

applicable precedent. See Purcell, 400 F.3d at 1323 n. 23 (“We do not . . . establish

either Marsh or Hale as the proverbial ‘floor’ of liability for Eighth Amendment [and

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Fourteenth Amendment] purposes.”); c.f., Q.F., 768 F. App’x at 947 (“[W]e held . . . in

2010[ ] it was clearly established that the Eighth Amendment protected inmates from

prison officials’ indifference to a known risk of inmate-on-inmate violence.”) (citing

Bowen v. Warden Baldwin St. Prison, 826 F.3d 1312, 1325 (11th Cir. 2016)).

       Bearing in mind the framework set forth in the above cases, a reasonable juror

could conclude that the totality of the circumstances at the Colbert County Jail created

a substantial risk of inmate-on-inmate violence if genuine disputes of fact resolve in

Plaintiffs’ favor. In particular, the pre-existing Eleventh Circuit precedent previously

discussed provided Defendants fair warning that the following conditions at the Colbert

County Jail, if facts resolve in Plaintiffs’ favor, presented a substantial risk of excessive

inmate assaults: the rate of assaults (noted in Purcell, 400 F.3d at 1323 n.1; Hale, 50

F.3d at 1580-81; Williams, 547 F.2d at 1211; Gates, 501 F.3d at 1308-09; Marbury, 936,

F.3d at 1234-35; Harrison, 746 F.3d at 1298; LaMarca, 995 F.3d at 1541; and Lane, 835

F.3d at 1305-06); persistent overcrowding (noted in Hale, 50 F.3d at 1580-81; Marsh,

268 F.3d at 1025; Williams, 547 F.2d at 1211; and Gates, 501 F.2d at 1309); the specific

risks posed by Capote and Young (noted in Marbury, 936 F.3d at 1235; LaMarca, 995

F.3d at 1538; Green, 798 F. App’x at 427; McCray, 509 F.2d at 1334; and Lane, 835 F.3d

at 1307-08); deficiencies in inmate classification (noted in Marsh, 268 F.3d at 1025; Hale,

50 F.3d at 1581; Williams, 547 F.2d at 1211; and Gates, 501 F.2d at 1308); deficiencies

in inmate discipline (noted in Marsh, 268 F.3d at 1025; Lane, 835 F.3d at 1306; Purcell,
                                             77
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400 F.3d at 1322; Williams, 547 F.2d at 1211; and Gates, 501 F.2d at 1308-09); and

deficiencies in staffing and inmate monitoring (noted in Marsh, 268 F.3d at 1024;

Marbury, 936 F.3d at 1235; Lane, 835 F.3d at 1305; Cottone, 326 F.3d at 1355-56; Hale,

50 F.3d at 1581; Purcell, 400 F.3d at 1321; LaMarca, 995 F.2d at 1538-39; Williams, 547

F.2d at 1211; and Gates, 501 F.2d at 1308).

               a. Rate of Inmate Assaults

          Defendants asserted that most inmate-on-inmate assaults in the Colbert County

Jail “are very short, generally just a few punches,” and “[i]nmate assaults in the Colbert

County Jail have never been so frequent or commonplace as to be viewed the norm or

as routine.” (Doc. 85-44, ¶ 7; Doc. 85-46, ¶ 5; Doc. 85-47, ¶ 7; Doc. 85-49, ¶ 10).

Defendants’ expert also testified that only “fights and typical violence” occurred at the

jail. (Doc. 85-61, at 27).

          However, to refute that testimony, Plaintiffs presented Jail Tracker reports and

handwritten jail logs reflecting previous inmate assaults.20 Construed in the light most

favorable to Plaintiffs, jail records reflect six inmate assaults occurred between May 1,

2016 (the earliest possible date of the first record presented to the court), and Ogletree’s

assault on August 10, 2016, or an average of one assault every 17 days.21 One of those


20
  As the Fourteenth Amendment requires assessing an excessive risk of inmate violence, the court
includes in its description all incidents officers described as inmate fights and incidents of aggression
involving Capote.
21
     Two undated incidents appear in the jail logs prior to the first documented assault on May 16, 2016.
                                                     78
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assaults resulted in officials transporting an involved inmate to the emergency room for

additional medical treatment.

        Three additional assaults occurred prior to Alexander’s assault on October 24,

2016, or an average of one assault every 25 days between August 11 and October 24,

2016.    None of those assaults resulted in an inmate requiring emergency room

treatment. In total, ten assaults (including the assault on Ogletree) occurred between

May 1 and October 24, 2016, for an average of one assault every 17.7 days.

        Thirty-four additional assaults or incidents of aggression occurred prior to

Kryston’s assault on June 19, 2017,22 or an average of one assault every seven days

between October 25, 2016, and June 19, 2017. Five of those assaults resulted in

officials transporting an involved inmate to the emergency room for additional medical

treatment, or an average of one emergency room visit every 47.6 days. In total, 45

assaults (including the assaults on Ogletree and Alexander) occurred between May 1,

2016, and June 19, 2017, for an average of one assault every 9.2 days.



(Doc. 91-3, at 1-2). Construing the facts in the light most favorable to Plaintiffs, the court will
presume those incidents occurred prior to May 16, 2016, but after May 1, 2016. In addition, the court
understands that additional assaults may have occurred prior to those noted, but the record does not
contain evidence of those assaults. Therefore, the court may not consider any earlier incidents for
purposes of ruling on summary judgment.
22
   The incidents of aggression comprise Capote’s incidents, including the January 25, 2017, incident
in which Capote wanted to fight another inmate, but officers removed the inmate from Capote’s area
before the fight occurred, and the April 18, 2017, incident in which officers intervened to stop Capote
after he charged at an inmate worker. The number also includes the undated incidents of violence
noted in the handwritten jail logs sometime between June 16, 2017, and July 18, 2017.
                                                   79
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       Thirty-eight additional assaults occurred prior to James’s assault on March 11,

2018, or an average of one assault every seven days between June 20, 2017, and March

11, 2018. Six of those assaults resulted in officials transporting an involved inmate to

the emergency room for additional treatment, or an average of one emergency room

visit every 44.2 days.     In total, 84 assaults (including the assaults on Ogletree,

Alexander, and Kryston) occurred between May 1, 2016, and March 11, 2018, for an

average of one assault every 8.1 days.

       Three additional assaults occurred prior to Hargrove’s assault on April 18, 2018,

or an average of one assault every 12.7 days between March 12, 2018, and April 18,

2018. All of those assaults resulted in officials transporting an involved inmate to the

emergency room for additional medical treatment. Overall, between May 1, 2016, the

beginning of the period the court record reflects, and April 18, 2018, the date of the last

Plaintiff’s assault, 89 assaults (including the assaults on all Plaintiffs) occurred, for an

average of one assault every 8.1 days. Fifteen of those assaults, or approximately 17%,

resulted in emergency room treatment, for an average of one trip to the emergency

room every 47.9 days.

       These observations reflect the frequency of inmate assaults increased after the

attack on Alexander, from approximately one assault every 17 to 25 days to

approximately one assault every seven to ten days. In addition, calculated on a yearly

basis, 21 assaults occurred between May 1 and December 31, 2016, for an average of
                                            80
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one assault every 11.7 days. Fifty-nine assaults occurred during 2017, for an average

of one assault every 6.2 days. Nine assaults occurred between January 1, 2018, and

April 8, 2018 (the date of the last assault on one of the five Plaintiffs), for an average of

one assault every 12 days.

       Indeed, these statistics may underrepresent the number of assaults that occurred

at the Colbert County Jail during this time period. As an example, the undersigned

issued a report and recommendation in a case brought by Jacob Guy against the Colbert

County Jail for alleged violations of the Constitution, including a failure-to-protect

claim and a deliberate indifference to medical needs claim. See Guy v. Colbert County

Jail, No. 3:19-cv-00641-ACA-HNJ, Doc. 30 (N.D. Ala. July 15, 2021), rept. & recommend.

adopted, 2021 WL 3721741 (N.D. Ala. Aug. 23, 2021). Evidence submitted during the

course of the case reveals that inmate Gouch assaulted Guy on November 17, 2017

(Court Exhibit (hereafter “CX”) at 7, 11), a fact confirmed in the jail logs tendered in

this case. (Doc. 91-6 at 1.) However, another inmate, Bates, assaulted Guy on the

same day just before the assault by Gouch (CX at 6, 10, 13), a fact that the records filed

with the court do not reflect. Other evidence in the Guy case dated April 15 and 18,

2017, notes that Guy awakened in the middle of the night with inmate Inman choking

him (CX at 2, 3), yet the court-filed records solely contain a reference on April 18, 2017,

that Guy was “acting out and wanting to be moved.” Doc. 91-4 at 10. Another

record in the Guy case indicates he and inmate Flanagan engaged in a fight on February
                                             81
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19, 2018 (CX at 4), yet no such record exists in the filings with the court. In the Guy

case, corrections officers attested that Guy “started altercations with other inmates”;

“would try and ‘big boy’ other inmates [by taking] things by force”; and “would get in

fights” and “frequently fought with other inmates.” (CX at 6, 10, 13). However, the

records filed with the court do not depict Guy engaging in frequent fights.

      These statistics contravene Defendants’ assertions that inmate assaults were not

frequent or commonplace. A reasonable jury clearly could construe the pattern to

represent more than occasional, isolated attacks among inmates, especially when

compared to decisions rejecting excessive risk of inmate violence claims. See, e.g.,

Marbury, 936 F.3d at 1234 (15 stabbings over the course of six years); Harrison, 746 F.3d

at 1299-1300 (four assaults over a three-year period for a facility housing 830 to 990

inmates); Purcell, 400 F.3d 1323 n. 21 (“In a jail that houses over a hundred inmates,

evidences of two to three pretty serious inmate fights over a period of nine months and

of not very many other fights over a four-year span, cannot establish that serious

inmate-on-inmate violence was frequent and pervasive.”); Green, 798 F. App’x at 426–

27 (“There is evidence that 28 reported incidents of sexual assault occurred over five

years at Rodgers, which had a prison population of 1,500 inmates. . . . [U]nder our

precedent, these numbers do not rise to the level of demonstrating that Rodgers was ‘a

prison where violence and terror reigned.’”) (citations omitted). Contrastingly, the

rate of assault at the Colbert County Jail from May 2016 to April 2018 surpasses the
                                           82
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statistics in decisions advancing such claims. See Marsh, 268 F.3d at 1033 n. 12 (noting

fights “on a regular basis” in the Hale circumstances, “multiple reports of stabbing” in

the Williams circumstances, and “27 reported instances of armed assault” in the Gates

circumstances).

       In addition, courts invoking clearly established law should consider the rate of

assaults vis-à-vis the size of a facility’s population. See Marbury, 936 F.3d at 1234

(“There is no evidence in the record of the total prison population . . . .”); Harrison, 746

F.3d at 1300 (considering the size of the facility when assessing an excessive risk of

inmate violence). At a relatively small jail such as Colbert County, which generally

housed approximately 80 to 100 inmates, and sometimes more, 85 incidents represent

a substantial rate of assault. See Harrison, 746 F.3d at 1300 (quoting Purcell, 746 F.3d at

1321) (33 inmate assaults involving weapons over 1,313 days (January 1, 2005, to August

6, 2008), or an average of one assault every 39.8 days, did not “indicate that inmates

were ‘exposed to something even approaching the constant threat of violence.’”);

Maestas-Kaufman v. Hannah, No. 714CV02258WMASGC, 2016 WL 11475029, at *4

(N.D. Ala. May 27, 2016), report and recommendation adopted, No. 714CV02258AKKSGC,

2016 WL 5349692 (N.D. Ala. Sept. 26, 2016) (“several instances . . . over the course of

a year” represented “isolated, and wholly unrelated, incidents [that did] not demonstrate

a history of widespread abuse”); Sanders v. City of Dothan, No. 1:07-CV-0008-MEF, 2008

WL 4277818, at *5 (M.D. Ala. Sept. 17, 2008) (“Three discrete incidents over the course
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of a sixteen-month period that ended over two years before Sanders was allegedly

subjected to unconstitutional conduct does not constitute widespread abuse that is

‘obvious, flagrant, [and] rampant.’”) (alteration in original) (citation omitted).

       Defendants contend that the risk of inmate assaults was not a longstanding

problem, primarily highlighting their testimony that violence was not the “norm or

routine,” and that the alleged risk of violence only occurred over a two-year period.

As to the first point, the court need not give credence to Defendants’ representations

as to the level of violence, particularly given the statistics described previously as to the

number of inmate assaults. The factfinder at trial must decide whether those statistics

bear veracity.

       As for the assertion that a two-year period does not reflect a longstanding

problem, the precedent does not require the existence of a longstanding problem.

Rather, Plaintiffs must prove Defendants were deliberately indifferent to an excessive

risk of inmate violence that caused their injuries, which may manifest without any

requirement vis-à-vis a particular length of time.          See Farmer, 511 U.S. at 842

(Remarking that a plaintiff may present “evidence showing that a substantial risk of

inmate attacks was ‘longstanding, pervasive, well-documented, or expressly noted by

prison officials in the past . . . .’”) (emphasis added); c.f., Keith, 749 F.3d at 1048 (For

supervisory liability under the causal connection alternative, the “‘deprivations that

constitute widespread abuse sufficient to notify the supervising official must be
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obvious, flagrant, rampant and of continued duration, rather than isolated

occurrences.’”) (quoting Hartley v. Parnell, 193 F.3d 1263, 1269 (11th Cir. 1999)). In any

event, a reasonable juror may find that the NIJO report depicts the risk of inmate

violence at the Colbert County Jail was longstanding based upon the systemic issues

delineated therein.

        Notwithstanding the genuine dispute of material fact regarding the rate of

inmate assaults at the Colbert County Jail, Marbury also requires consideration whether

“specific features of a facility or its population render[ed] it particularly violent.”

Marbury, 936 F.3d at 1231-32. Here, sufficient evidence exists for a reasonable juror

to conclude that other features of the Colbert County Jail and its population created a

substantial risk of violence among inmates.

           b. Violence by Capote and Associates

       As countenanced previously, clearly established law provides that specific

features of a facility’s population may render it particularly violent.         As Circuit

precedent maintains, “where prison officials have failed to control or separate prisoners

. . . who endanger the physical safety of other prisoners, prison officials may be required

to take steps to protect the prison population from those dangerous prisoners.”

McCray v. Sullivan, 509 F.2d 1332, 1334 (5th Cir. 1975) (citing Gates, 501 F.2d at 1308-

10; Holt v. Sarver, 309 F. Supp. 362 (E.D. Ark., 1970), aff’d 442 F.2d 304 (8th Cir. 1971));

see also Cottone, 326 F.3d at 1360 (“We conclude that prior factually similar case law gave
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fair and clear warning to [defendants] that it was their duty to monitor and to supervise

known violent inmates who posed a substantial risk of serious harm to other inmates.”).

       A reasonable juror could find that specific characteristics of the Colbert County

Jail population – namely, the presence of Capote and Young – presented an excessive

risk of inmate-on-inmate violence. Even though no jury had yet convicted Capote

and Young during the relevant time period, the nature of their charges demonstrated at

least a potentially elevated risk of violence.

       Indeed, Capote presented a greater danger than other inmates. Most strikingly,

Rutland conceded that Capote was a “cell boss,” which means he ran the cell block at

which he was located and typically retained power to administer violence with the

assistance of confederates, just “not all the time.” (Doc. 85-43 at 32). The evidence

bears out his menacing reign. As discussed, the record documents 84 total assaults

between May 1, 2016, and April 18, 2018. Capote participated in at least ten of those

incidents – a disproportionate share of the violence in an inmate population that

generally numbered between 80 and 100. Young participated in four violent incidents

– not as many as Capote, but still a disproportionate number. The Eleventh Circuit

has repeatedly determined that the presence of particularly dangerous inmates

contributes to an increased risk of inmate violence. See Lane, 835 F.3d at 1305-06

(considering the risk of violence from inmates with gang affiliations who targeted non-

gang and non-Muslim inmates); Cottone, 326 F.3d at 1355-56 (the plaintiff’s assailant
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struck another inmate during the booking process, had a history of mental health

problems, and experienced a violent, out-of-control schizophrenic episode on the day

of the assault); Hale, 50 F.3d at 1581 (considering that the jail detained Hale’s assailant

on capital murder charges).23

             c. Staffing and Level of Monitoring

        Regarding specific features of the facility, the court first considers staffing and

the level of inmate monitoring and supervision. The Jail Administrator attempted to

schedule up to four officers each shift, but the record evidence depicts that often only

two officers worked a shift. As one officer always remained on the first floor to

monitor the cameras and phones, sometimes only a single officer roved the cell block

areas and performed cell checks. That single officer also bore responsibility for

responding to all inmate incidents. In addition, the jail logs depict officers performed

varying tasks while on duty other than roving and monitoring, such as “pulling” laundry

and trash; retrieving ice and mop buckets; preparing and distributing “chow”; and

transporting inmates around the facility for various reasons, such as washing cars, sick

bay, etc. See, e.g., Doc. 91-3. As discussed, the evidence gives rise to the reasonable



23
   Review of the circumstances in LaMarca v. Turner, 662 F. Supp. 647 (S.D. Fla. 1987) – the case
affirmed by the Eleventh Circuit as evincing an excessive risk of inmate violence, 995 F.2d 1526 (11th
Cir. 1993) – illustrates the propriety of applying this factor in this case. In LaMarca, an inmate “wolf-
assailant” raped one inmate, assaulted another, and stabbed another over a one-year period. LaMarca
662 F. Supp. at 682-83. The prevalence of those assaults pales in comparison to Capote’s violent
transgressions as a cell boss at the Colbert County Jail.
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inference that only one officer worked during Ogletree’s assault; two officers worked

during Alexander’s assault; possibly one officer worked during Kryston’s assault; two

or three officers worked during James’s assault; and two officers worked during

Hargrove’s assault. Moreover, the video monitoring system provided only limited

surveillance of the cells.

       A reasonable jury could find that such a level of supervision could create a

substantial risk of excessive inmate-on-inmate violence. See Marbury, 936 F.3d at 1235

(noting that “pervasive staffing . . . issues” bear relevance); Lane, 835 F.3d at 1305 (a

single officer supervised 100 inmates in two separate dormitories); Cottone, 326 F.3d at

1355-56 (officers did not diligently monitor surveillance cameras); Hale, 50 F.3d at 1581

(the jailers’ station was “out of earshot and eyesight of the bullpen”); Marsh, 268 F.3d

at 1024 ( “[l]ack of adequate monitoring of the inmates allowed inmate activities to go

mostly unchecked” and “[o]ften, only one jailer was on duty at the Jail at a time”); Purcell,

400 F.3d at 1321 (the jail “was not understaffed on the night of the attack”); LaMarca

v. Turner, 995 F.2d 1526, 1538-39 (11th Cir. 1993) (reviewing the effect of lack of

adequate patrols, the Sheriff’s failure to station officers to patrol throughout

dormitories, and officers’ practice of allowing inmates to obscure officers’ vision into

their dormitories); Williams, 547 F.2d at 1211 (the prison employed “too few guards to

protect the inmates from one another through either supervision or through

confiscation of weapons”); Gates, 501 F.2d at 1308 (considering that “[o]nly one civilian
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guard is assigned to each camp”).

              d. Failure to Train Officers

       Genuine disputes of material fact exist whether the Colbert County Jail properly

trained its officers, an omission which contributes to a substantial risk of excessive

inmate violence. The Sheriff presented conflicting testimony regarding the level of

training jail officers received. In his affidavit, he stated that he required the Jail

Administrator and other officers to attend NIJO training, provided two hours of weekly

training to each officer, and required all new officers to attend the Alabama Jail training

academy. In his deposition, he stated that only the Jail Administrator receives formal

training, and other officers receive on-the-job training. A reasonable jury could credit

either version of the Sheriff’s testimony, or neither version, in light of Officer

Halcomb’s September 24, 2019, testimony that he had not received any training for

eight years.

       Construing the facts in the light most favorable to Plaintiffs, with all reasonable

inferences accorded thereto, the court will consider that jailers did not receive any

formal training.        The Eleventh Circuit has recognized that a jail’s failure to

appropriately train its officers can contribute to an increased risk of inmate violence.

See Marsh, 268 F.3d at 1024 (some officers had not received recommended training);

LaMarca, 995 F.2d at 1537 (considering the effect of “improper and inadequate staff

training”).
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              e. Overcrowding

       A reasonable juror also could conclude that persistent overcrowding in the

Colbert County Jail contributed to a substantial risk of excessive inmate-on-inmate

violence. There exists no dispute the jail consistently housed 20 to 40 more inmates

than its design intended, and perhaps more given the Sheriff’s concession in the press

that the jail regularly housed 100 to 125 detainees. Such population sizes represent a

significant overage given the ideal capacity of 64 detainees. The Sheriff testified that

overcrowding never presented a security risk, but a reasonable juror could conclude

otherwise based upon the prevalence of inmate-on-inmate attacks. The Eleventh

Circuit has consistently recognized overcrowding as a contributing factor to increased

inmate violence. See Hale, 50 F.3d at 1580-81 (noting that overcrowding occurred

regularly, leading to increased inmate violence); Marsh, 268 F.3d at 1025 (considering

that the jail sometimes housed more inmates than its capacity dictated); Williams, 547

F.2d at 1211 (“[i]nmate dormitories were ‘terribly overcrowded’”).

           f. Classifying Detainees

       Despite Defendants’ expert’s assertion that the Colbert County Jail implemented

effective classification procedures, a reasonable juror also could conclude that the

Colbert County Jail’s practices of housing inmates facing non-violent charges together

with inmates facing violent charges subjected Plaintiffs to a substantial risk of excessive

inmate-on-inmate violence.       Jail policy required separating felony offenders from
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misdemeanor offenders, and officers also attempted to separate inmates with known

conflicts. However, all efforts at segregation fell subject to the limitations of the size

of the facility.

       The Sheriff acknowledged the jail had not performed well at segregating violent

and non-violent inmates prior to the incidents involving Plaintiffs, and that the size of

the facility limited officers’ ability to implement an effective segregation policy. The

Eleventh Circuit has consistently identified lack of inmate segregation as a factor

contributing to increased inmate-on-inmate violence. See Marbury, 936 F.3d at 1235

(attributing relevance to persistent logistical issues); Hale, 50 F.3d at 1581 (officers did

not segregate inmates “based upon their proclivity for violence or the reasons for their

confinement”); Marsh, 268 F.3d at 1025 (“[n]o system of classification existed at the

Jail” and officers did not segregate inmates who attacked other inmates); Williams, 547

F.2d at 1211 (“insufficient cell space existed to segregate dangerous prisoners from the

rest of the inmate population”); Gates, 501 F.2d at 1308 (“inmates are not classified

according to the severity of their offense, resulting in the intermingling of inmates

convicted of aggravated violent crimes with those who are first offenders or convicted

of nonviolent crimes”).

               g. Disciplining Detainees

       In addition, despite Defendants’ assertions that they inflicted appropriate

discipline and Defendants’ expert’s assertion that officers responded appropriately to
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inmate violence, a reasonable juror could conclude that the Colbert County Jail’s failure

to consistently discipline inmates who committed violent acts subjected Plaintiffs to a

substantial risk of excessive inmate violence.        Jail policy and practice required

disciplining inmates who initiated assaults, and officers attempted to inflict discipline

by isolating inmates in a drunk tank cell or revoking commissary, telephone, and

visitation privileges.

       However, the efforts at discipline fell subject to the limitations of the size of the

facility. The Sheriff acknowledged that the size of the jail limited officers’ ability to

inflict effective discipline. Indeed, the NIJO report records one incident where a

detainee assaulted a jail officer with no discipline inflicted for the transgression. The

Eleventh Circuit has consistently identified ineffective discipline as a factor contributing

to increased inmate violence. See Lane, 835 F.3d at 1306 (officers did not confiscate

inmates’ weapons); Marsh, 268 F.3d at 1025 (officers did not discipline inmates who

attacked other inmates); Purcell, 400 F.3d at 1322 (“[j]ail officials had a history of

punishing inmate violence”).

       In summary, if the disputable issues of material fact resolve in Plaintiffs’ favor, a

reasonable juror could conclude that the history of inmate violence, coupled with other

specific features of the Colbert County Jail facility and population, presented an

unreasonable risk of serious injury to Plaintiffs’ safety by exposing them to an

environment where inmate violence exceeded the level of occasional, isolated attacks,
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and instead approached typicality. Even if none of those factors, considered in

isolation, presented a substantial risk of serious harm, the totality of the circumstances

did present such a risk. See Marsh, 268 F.3d at 1029 (“Taken as a whole, these alleged

conditions, if true, present an objectively substantial risk of serious harm — including

the risk of inmate-on-inmate attacks — to inmates.”) (emphasis supplied); Gates, 501

F.2d at 1309 (“Each factor separately, i.e., overcrowding dormitory barracks, lack of

classification according to severity of offense, untrained inmates with weapons, lack of

supervision by civilian guards, absence of a procedure for confiscation of weapons, may

not rise to constitutional dimensions; however, the effect of the totality of these circumstances

is the infliction of punishment on inmates violative of the Eighth Amendment, as

determined by the trial court.”) (emphasis added); Williams, 547 F.2d at 1211 (“Thus

the District Judge was fully justified in finding that the totality of circumstances as to

conditions of confinement at Angola amounted to a violation of the eighth

amendment.”) (emphasis supplied).

       Accordingly, Plaintiffs sustain the summary judgment challenge on the first

element of their excessive risk of inmate violence claim by demonstrating genuine

disputes of material fact whether they suffered a substantial risk of serious harm.




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              2.     Genuine disputes of material fact persist whether Defendants
                     displayed deliberate indifference to the substantial risk
                     inmates would suffer excessive inmate violence

       Plaintiffs must next demonstrate a genuine dispute of material fact whether

Defendants displayed deliberate indifference to the alleged substantial risk inmates

would suffer excessive inmate violence. This requirement has two components, one

subjective and one objective. To satisfy the subjective component, Plaintiffs must

produce evidence that Defendants “actually (subjectively) kn[ew] that an inmate [faced]

a substantial risk of serious harm.” Caldwell v. Warden, FCI Talladega, 748 F.3d 1090,

1099 (11th Cir. 2014) (citing Rodriguez v. Sec’y for Dep’t of Corr., 508 F.3d 611, 617 (11th

Cir. 2007) (alterations in original)). “The defendant ‘must be aware of specific facts

from which an inference could be drawn that a substantial risk of serious harm exists

— and the [defendant] must also draw that inference.’” Id. (quoting Carter, 352 F.3d

at 1349) (alteration in original). To satisfy the objective component, Plaintiffs must

produce evidence that Defendant “‘disregard[ed] that known risk by failing to respond

to it in an (objectively) reasonable manner.’” Caldwell, 748 F.2d at 1099 (quoting

Rodriguez, 508 F.3d at 617).

                     a.     A genuine dispute of material fact exists regarding the subjective
                            requirement that Defendants actually knew they faced a substantial
                            risk of serious harm

       If the disputable issues of fact resolve in their favor, a reasonable jury can find

that Plaintiffs satisfy the subjective requirement of demonstrating Defendants actually,
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subjectively knew Plaintiffs faced a substantial risk of serious harm. “‘Whether a

prison official had the requisite knowledge of a substantial risk is a question of fact

subject to demonstration in the usual ways.’” Hale, 50 F.3d at 1583 (quoting Farmer, 511

U.S. at 842). The official may testify to his own awareness, or the court can draw the

inference of awareness from circumstantial evidence. Id.; see also Lane, 835 F.3d at

1308 (citing Caldwell, 748 F.3d at 1099) (“Inferences from circumstantial evidence,

however, can be used to show that a prison official possessed the necessary

knowledge.”).    “Thus, ‘a factfinder may conclude that a prison official knew of a

substantial risk from the very fact that the risk was obvious.’” Hale, 50 F.3d at 1583

(quoting Farmer, 511 U.S. at 842).

       For example, if an Eighth Amendment plaintiff presents evidence
       showing that a substantial risk of inmate attacks was “longstanding,
       pervasive, well-documented, or expressly noted by prison officials in the
       past, and the circumstances suggest that the defendant-official being sued
       had been exposed to information concerning the risk and thus ‘must have
       known’ about it, then such evidence could be sufficient to permit a trier
       of fact to find that the defendant-official had actual knowledge of the
       risk.”

Farmer, 511 U.S. at 842-43.

       In the context of inmate-on-inmate assaults, the plaintiff need not show that he

notified an official that he feared an attack.

       Although relevant, a claimant’s “failure to give advance notice [of an
       attack] is not dispositive,” Farmer, 511 U.S. at [848], 114 S. Ct. at 1984.
       Thus, an official may not escape liability merely by showing that he did
       not know the claimant was likely to be assaulted or that an assault would
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       be committed by the specific prisoner who eventually committed the
       assault. Id. at [843], 114 S. Ct. at 1982. In other words, Hale was not
       required to show that Smith knew “precisely who would attack
       whom,” id., but only that Smith had subjective knowledge of a
       generalized, substantial risk of serious harm from inmate violence. See id.

Hale, 50 F.3d at 1583 (first alteration in original).

       The record reflects that Rutland and Bowling either personally witnessed inmate-

on-inmate assaults, or, as Jail Administrators, they received notice of such assaults

through incident reports and Jail Tracker entries.       Sheriff Williamson stated he

“typically” did not receive notice of inmate-on-inmate assaults unless the assault

required an inmate to receive hospital treatment. The word “typically” indicates the

Sheriff sometimes did receive notice, but the record contains no information from

which to determine how frequently such notice occurred. Perhaps by inference vis-à-

vis the Sheriff’s oversight responsibilities, a reasonable juror could conclude that

officers informed Williamson about inmate-on-inmate assaults frequently enough to

place him on notice of a constitutional problem.

       In any event, Williamson acknowledged receiving notice of each assault that

necessitated hospitalization, and fifteen assaults between May 1, 2016, and April 18,

2018, resulted in emergency room treatment. These assaults depicted a plethora of

serious injuries among the Plaintiffs and other detainees, as described in the

Background: Ogletree’s broken jaw necessitating facial surgery; Alexander’s broken

ribs, cracked sternum, and brain hemorrhage requiring surgery; Kryston’s fractured ribs
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and punctured lung that required a chest tube insertion; James’s nasal fracture and

contusions to other parts of his body; and Hargrove’s broken ribs, jaw, and nose and

swollen eye.

       The jail logs depict other examples of serious injuries, including: (1) an inmate

losing consciousness on May 5, 2016 (Doc. 91-1, at 6-7); (2) an inmate suffering a black

eye, swollen lip, and bruises and footprints on his back on October 23, 2016 (Doc. 91-

3, at 9); (3) Peter Capote hitting an inmate four times in the jaw and stomping the

inmate’s head four times on February 13, 2017 (Doc. 91-2, at 6-7); (4) an inmate “busted

up pretty good his face was bloody and black & blue couple cuts” on July 26, 2017; (5)

an inmate suffering a possible concussion during a fight on December 11, 2017 (Doc.

91-1, at 4); and (6) an inmate suffering a dislocated shoulder on March 9, 2018. (Doc.

91-6, at 13).

       The extent of the afore-described injuries undergird an inference that the Sheriff

possessed knowledge regarding the violence at the jail. Though Williamson may have

not known about each assault that occurred in the jail, the knowledge he did possess,

coupled with his knowledge of other circumstances discussed below, provided him with

notice of an excessive risk of inmate assaults.

       A reasonable juror could conclude that Defendants knew an inmate charged with

capital murder presented a risk of increased inmate violence. Officers attempted to

house the five capital murder detainees in other facilities, separated Capote and Young,
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and isolated Young in a J-cell because he acted as a leader and discussed violence.

Most critically, Rutland conceded that Capote was a “cell boss,” in which he ran the cell

block at which he was located and typically retained power to administer violence, just

“not all the time.”    (Doc. 85-43 at 32).       This fact alone inferentially depicts a

knowledge of the alleged, excessive inmate violence risk.

       Sheriff Williamson commissioned the NIJO report shortly after taking office in

2015, giving rise to the inference that he knew of other potential problems requiring

further attention.    The May 2016 NIJO report documented the jail’s excessive

population and cautioned that routinely exceeding capacity could compromise safety,

security, order, discipline, health care, food services, sanitation, exercise, and other

essential services.

       The report specifically pointed to the danger of increased inmate-on-inmate

violence and potentially resulting legal liability. The report also noted that excessive

capacity caused deficiencies in inmate classification, which also increased the risk of

violent inmates preying upon more vulnerable inmates.               The deficiencies in

classification and inability to adequately segregate inmates also limited officers’ ability

to discipline inmates who violate rules, including those who attack other inmates. The

report also identified inadequate officer staffing and inadequate video surveillance,

which limited officers’ ability to respond to inmate-on-inmate assaults and even led to

an inmate assaulting an officer during the NIJO inspection period, for which the
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offending inmate received no discipline.

      The report recommended hiring six new corrections officers, implementing an

officer training plan, improving discipline, implementing a classification system, and

developing a plan to decrease the inmate population. Finally, the report documented

32 use-of-force incidents in 2015. The record contains no details regarding those

incidents, but a reasonable juror could conclude that the use of force on 32 occasions

during one year indicates safety concerns, as declared by the NIJO report.

      A reasonable jury could infer Sheriff Williamson’s awareness of the report from

the fact that he commissioned it, and from his extensive testimony regarding the

contents of the report and his responses to the NIJO’s recommendations. Thus, the

Sheriff possessed knowledge of the substantial risks that ensued from the deficient

conditions the report described. See Marsh, 268 F.3d at 1029 (state agency inspection

reports describing jail conditions gave the Sheriff notice of the risks those conditions

posed); LaMarca, 995 F.2d at 1536 (“incident reports, internal staff reports, and reports

by external investigators” provided notice of an unreasonable risk of inmate violence).

In addition, Sheriff Williamson explicitly acknowledged the jail suffered persistent

overcrowding and lacked a formal inmate classification system. See Hale, 50 F.3d at

1583 (attributing subjective knowledge to an official who testified he knew inmate-on-

inmate violence occurred regularly during periods of overcrowding and violence

sometimes resulted in injuries requiring medical treatment). He also could have
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derived subjective knowledge of the other conditions at the jail – including insufficient

staffing, surveillance, officer training, and inmate discipline – from their alleged

pervasive nature and longstanding existence, if the disputed facts buttress such

allegations.   See Marsh, 268 F.3d at 1029 (attributing notice to the Sheriff of

“longstanding and pervasive” conditions); LaMarca, 995 F.2d at 1536-37 (attributing

notice of jail conditions to an official when such conditions “would be apparent to any

knowledgeable observer”); Q.F., 768 F. App’x at 946 (“[T]he defendants’ supervisory

positions suggest, at least by inference, that the defendants were aware of the staffing,

classification, and segregation issues at Eastman.”) (citing Farmer, 511 U.S. at 842

(allowing the plaintiff to establish subjective knowledge of a risk by inference or from

circumstantial evidence)).

       There exists no evidence that Rutland or Bowling knew of the NIJO report or

its findings. Even so, those Defendants, like Sheriff Williamson, could have derived

notice of the conditions at the jail – including overcrowding, lack of a formal

classification system, and insufficient staffing, surveillance, officer training, and inmate

discipline – from the nature of their positions as Jail Administrator and the

longstanding, pervasive presence of the conditions. See Cottone, 326 F.3d at 1358

(guards had notice of dangerous conditions when they observed them during their

shifts); Marsh, 268 F.3d at 1029; LaMarca, 995 F.2d at 1536-37. And of course, as


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previously noted, they receive notice via incident reports, Jail Tracker entries, and

personal involvement in some of the incidents.

      Finally, resolution of the evidence in Plaintiffs’ favor supports a finding that

Defendants possessed knowledge of jail conditions contributing to a substantial risk of

excessive inmate assaults before any of the assaults on Plaintiffs occurred.                   See

LaMarca, 995 F.2d at 1540 (finding that the district court should have made “a directed

inquiry into [the official’s] knowledge at the time of each incident”).                  Though

Defendants’ notice of Capote’s dangerous tendencies and the general risk of inmate

violence increased each time Capote assaulted another inmate, and as the general

frequency of assaults increased over time, the other specific features discussed provided

Defendants with notice of sufficiently dangerous conditions to portray an increased risk

of inmate violence even before the first assault on Ogletree on August 10, 2016. As

those conditions persisted, they continued to provide Defendants with notice of the

risk through the date of the last assault on April 18, 2018. See id. at 1540 (“The alleged

assaults occurred over a three-year period, and, as one would expect, Turner’s

knowledge ripened during this period.”).

                    b.     A genuine dispute of material fact exists regarding the requirement that
                    Defendants failed to respond to the risk in an objectively reasonable manner

      The court next evaluates whether genuine issues of material fact portray

Defendants disregarded the risk of harm Plaintiffs suffered by failing to respond to the

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risk in an objectively reasonable manner, or put differently, whether Defendants

demonstrated deliberate indifference to the risk of harm to Plaintiffs. Hale, 50 F.3d at

1583 (“Mere knowledge of a substantial risk of serious harm, however, is insufficient

to show deliberate indifference. Hale also was required to produce evidence that, with

knowledge of the substantial risk of serious harm, Smith knowingly or recklessly

“‘disregard[ed] that risk by failing to take reasonable measures to abate it.’”) (alteration

in original) (citations omitted).

       “[D]eliberate indifference describes a state of mind more blameworthy than

negligence,” and an ordinary lack of due care for a prisoner’s interest or safety will not

support the claim. Farmer, 511 U.S. at 835; see also Davidson v. Cannon, 474 U.S. 344,

347-348 (1986). “Merely negligent failure to protect an inmate from attack does not

justify liability under section 1983.” Brown v. Hughes, 894 F.2d 1533, 1537 (11th Cir.

1990); see also Melton v. Abston, 841 F.3d 1207, 1223 (11th Cir. 2016) (citing e.g., McElligott

v. Foley, 182 F.3d 1248, 1255 (11th Cir. 1999); Carter, 352 F.3d at 1350. Plaintiffs can

demonstrate that Defendants displayed deliberate indifference to the serious risk of

inmate-on-inmate assaults if Defendants knew of ways to reduce the risk but knowingly

or recklessly declined to take action.        Hale, 50 F.3d at 1583.          If Defendants

“attempt[ed] to remedy a constitutionally deficient [jail] condition, but fail[ed] in that

endeavor, [they] cannot be deliberately indifferent unless [they] kn[ew] of, but

disregard[ed], an appropriate and sufficient alternative.” LaMarca, 995 F.2d at 1536.
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That is, “[a]fter establishing that [an] official subjectively knew of a risk, the plaintiff

may establish the second element -- that the officials disregarded the known risk -- by

showing that the officials failed to respond to that risk in an objectively reasonable

manner.” Q.F., 768 F. App’x at 944-45 (citing Rodriguez, 508 F.3d at 617; Cottone, 326

F.3d at 1358); see also Farmer, 511 U.S. at 847 (A “prison official may be held liable under

the Eighth Amendment for denying humane conditions of confinement only if he

knows that inmates face a substantial risk of serious harm and disregards that risk by failing

to take reasonable measures to abate it.”) (emphasis added).

       Defendants cannot avoid a finding of deliberate indifference by asserting they

lacked funds to implement the necessary corrective measures. “[A]n official ‘may not

escape liability solely because of the legislature’s failure to appropriate requested [and

necessary] funds.’” LaMarca, 995 F.2d at 1537 (citing Williams, 689 F.2d at 1387) (second

alteration in original). Rather, when “the lack of funds contributed to the [dangerous]

condition,” a plaintiff may prevail if he “demonstrate[s] that a particular defendant

[nevertheless] had the capability (authority and means) to provide adequate security and

did not do so.” Id. (citing Williams, 689 F.2d at 1389).

       More specifically, Defendants cannot avoid liability by merely demonstrating

efforts toward construction of a new jail, even if the new jail likely would reduce the

risk of violence. Hale, 50 F.3d at 1584. As the Eleventh Circuit stated in Hale:


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       While any such efforts by [the Sheriff] would appropriately be considered
       by a jury determining whether [the Sheriff] was deliberately indifferent,
       such efforts would not necessarily absolve him or the County of liability.
       A jury could find that despite any efforts he made toward construction of
       the new jail, [the Sheriff] was deliberately indifferent by disregarding
       “alternative means” or interim measures for reducing the risk of violence
       such as those advanced by Hale, see LaMarca, 995 F.2d at 1536.

Hale, 50 F.3d at 1584. The Eleventh Circuit acknowledged that “consideration of

alternatives available to [the Sheriff] ‘comes perilously close to second-guessing the

difficult choices that prison officials must face,” but it nonetheless decided to adjudicate

within that narrow legal margin because considering such alternatives “‘directly

addresses the question of whether monetary restraints frustrated [the Sheriff’s] good

faith efforts, or whether he knowingly or recklessly disregarded solutions within his

means.” Id. (citing LaMarca, 995 F.2d at 1538).

       Williamson, Rutland, and Bowling all acknowledged the deficiencies of the

existing jail facility. But those individuals do not possess the power to construct a new

jail, as that decision rests with the County Commission, and funding for the

construction depends upon political maneuvers the court will allude to later. Thus,

the court must assess whether Plaintiffs sustain their summary judgment burden that

Williamson, Rutland, and Bowling knew of, but disregarded, alternative, interim




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measures that could have decreased the risk of inmate assaults while Colbert County

awaited funding and political initiative for a new jail.24

        Defendants contend they executed some measures to address circumstances

contributing to the increased risk of inmate-on-inmate assaults. However, genuine

disputes of material fact exist as to when Defendants implemented their measures, and

whether they were effective in combatting the inmate violence. See Spires v. Paul, 581

F. App’x 786, 794 (11th Cir. 2014) (allegations supports inference that defendant “failed

to take measures to abate [alleged unconstitutional condition] in a reasonably timely

manner”) (citing Farmer, 511 U.S. at 847).25 Thus, at best, Defendants’ efforts, if timely


24
   Regarding the allocation of responsibilities between the Sheriff and Jail Administrator, the record
indicates only that the Sheriff bears responsibility “for the care, custody, and control of inmates,”
while the Jail Administrator bears responsibility for the jail’s “day-to-day operations.” (Doc. 85-49,
¶ 3). The jail policies and procedures challenged here – including inmate classification and discipline,
staffing, inmate monitoring, officer training, and managing jail capacity – could reasonably fall under
the umbrella of either “care, custody, and control of inmates” or “day-to-day operations” of the jail.
Therefore, the court will consider that both the Sheriff and the Jail Administrator possessed the same
knowledge of available alternatives, and both retained the authority to address the challenged
conditions. The court bears in mind that Bowling served as Jail Administrator during the time period
relevant to Ogletree’s and Alexander’s claims, and Rutland served as Jail Administrator during the
time period relevant to Hargrove’s, Kryston’s, and James’s claims. However, the record does not
reflect that the relevant policies and procedures changed meaningfully between those two time
periods. Thus, while Bowling may bear liability only on the claims of Ogletree and Alexander, and
Rutland may bear liability only on the claims of Hargrove, Kryston, and James, the deliberate
indifference analysis does not differ between those two Defendants.
25
   These observations comport with the opinion of Defendants’ expert witness that Sheriff
Williamson’s efforts to improve jail conditions, coupled with his decision to commission the NIJO
report, reflects that he did not display deliberate indifference. A reasonable juror could credit the
expert’s testimony, but that testimony does not conclusively establish the Sheriff’s lack of deliberate
indifference, as a reasonable juror also could conclude, due to when the Sheriff implemented the
purported measures and the available alternative measures discussed, that the Sheriff did display
deliberate indifference. Gregg v. U.S. Indus, Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (citing Remington
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implemented, did not prove adequate to prevent excessive inmate-on-inmate violence,

and Defendants still could display deliberate indifference if they knew about, but

declined to implement, reasonable alternative measures.

        Regarding inmate classification, Defendants maintained a policy – whose date is

not reflected in the record – that separated inmates from known enemies, separated

inmates who fought each other, separated pre-trial and sentenced inmates when

possible, and separated misdemeanor and felony inmates when possible. Not only

does the policy lack an effective date, Defendants did not effect a classification system

requiring the separation of inmates charged with violent offenses from those charged

with non-violent offenses, even though the NIJO report recommended the measure.

Defendants argue the size of the jail limited their segregation options, but the record

reflects other options did exist, as officers now house violent inmates together in a J-

cell, as long as those inmates do not face criminal charges on the same case. Even so,

Plaintiffs declare that the number of J-Cells – four total – could have accomplished the

separation of Young and Capote into separate confines if they were not placed in

adjoining J-cells.

        Moreover, a reasonable juror could conclude that Defendants knew the J-cells

presented an additional segregation option. They housed Young in a J-cell, and they



Arms Co., Inc. v. Wilkins, 387 F.2d 48, 54 (5th Cir. 1967)).
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stated they considered J-cells as an additional segregation option, but they decided not

to implement that option because they preferred to use the cells for sex offenders.

Yet, the record also indicates they declined to place Capote in a J-cell as a disciplinary

measure because the investigators wanted him separated from his co-defendant, Young.

Thus, genuine disputes of material fact persist as to whether Defendants reasonably

delayed in separating violent inmates into J-cells. Therefore, a reasonable juror could

conclude Defendants unreasonably failed to implement known inmate classification

and segregation strategies.

       As for the specific risk Capote presented to other inmates, that Defendants

isolated Young in a J-cell demonstrates they knew they could protect other inmates

from the threat a capital murder detainee presented by isolating such detainees from

the remainder of the jail population. Furthermore, a reasonable juror may conclude

Defendants’ disciplinary measures as to Capote failed as he continuously wreaked havoc

in the jail. Defendants offered explanations for why they chose not to also isolate

Capote, yet, as stated previously, Plaintiffs declare that the number of J-cells – four total

– could have accomplished the separation of Young and Capote into separate confines

if they were not placed in adjoining J-cells. Therefore, a jury must determine whether




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those explanations constituted reasonable justifications, or whether Defendants

knowingly or recklessly disregarded other viable alternatives for housing Capote.26

       To discipline inmates who participated in assaults, Defendants declare they

sometimes moved such inmates to a drunk tank cell or revoked television, commissary,

and visitation privileges. They also separated the inmates, but a reasonable juror could

conclude that practice did not constitute a disciplinary measure. Defendants contend

the size of the facility limited the availability of other options; yet as with segregation,

the record reflects other options existed, such as isolating offenders in J-cells, and a

reasonable juror could conclude, as with inmate classification, that Defendants knew of

that option.

       Importantly, the record indicates some instances of inmate violence occurred

without any disciplinary response, such as when an inmate assaulted an officer during

the NIJO audit period, or when the officers merely separated inmates after assaults.

And in light of the NIJO’s recommendation to implement a disciplinary system, a

reasonable factfinder could conclude that Defendants unreasonably failed to implement



26
   For instance, Defendants asserted they could not house Capote in a J-Cell near Young because the
two men did not get along and their ability to communicate might compromise the prosecution. They
chose to prioritize isolating Young over Capote because Young acted as a leader, referred to violence
in conversations, and possessed a larger frame than Capote. Defendants also asserted that isolating
Capote in a J-Cell or cell block would have resulted in the loss of beds for other inmates, which would
further exacerbate the overcrowding problem. They expressed concern that imposing extended
isolation on a pretrial detainee might violate his constitutional rights, as no jury had yet convicted
Capote of a crime. (See Doc. 88, at 29-31).
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available measures to effectively discipline inmates. Therefore, genuine disputes of

material facts exist as to whether Defendants could have reasonably effected more

disciplinary measures during the time period at issue.

       As for staffing and monitoring, Defendants knew from the NIJO report that

hiring additional jailers could reduce the risk of inmate-on-inmate violence and other

problems, and the NIJO recommended at least six additional jailers. Defendants

declare they attempted to schedule two to four officers on each shift, with one officer

monitoring cameras and phones from the control room and the other officer roving

the cell block areas and performing observation checks every 15 to 20 minutes.       The

Sheriff also declares he increased staffing after receiving the NIJO report, but a

reasonable juror could interpret the budget increase to reflect that the County hired

additional jailers, but not that it hired the six additional jailers the NIJO recommended,

especially considering that the Sheriff also stated he increased salaries for existing

officers. Importantly, the Sheriff never stated that the County denied a request to

fund additional jailer salaries, thereby leading to the reasonable inference that he could

have successfully requested even more funding.           Thus, a reasonable juror could

conclude Defendants failed to reasonably respond to the alleged risk by adequately

staffing the jail.

       Relatedly, the Sheriff replaced the control room camera system after receiving

the NIJO report, but he did not add any additional cameras to the cell block areas, and
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officers remained unable to view activity within the cells. The Sheriff knew additional

cameras could provide additional security because the NIJO report pointed out that

blind spots in surveillance could create a security risk. He looked into the possibility

of installing more cameras but declined to do so because of the cost and the potential

futility of placing cameras within inmates’ reach. Based on the foregoing, a reasonable

juror could conclude that Defendants failed to reasonably respond to the alleged risk

by implementing available measures to improve inmate monitoring.

       As for officer training, Defendants knew additional training could provide a safer

jail atmosphere because the NIJO recommended it.           In response to the NIJO’s

recommendation, the Sheriff declared he implemented additional training measures,

reflecting that the Sheriff knew about potential training options and the effect they

would have on inmate security. However, the Sheriff’s testimony displayed a genuine

dispute of material fact regarding whether the Jail Administrator solely received

additional training, or whether jailers also received the training. In light of jailer

Halcomb’s testimony that he did not receive any training between 2011 and 2019, a

reasonable juror could conclude that the Sheriff failed to reasonably respond to the

recommendation to implement officer training despite knowing of both the potential

benefit and the availability of training.

       To address jail overcrowding, the Sheriff declared he asked other counties to

house inmates, asked judges to release inmates or lower their bonds, and communicated
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with local prosecutors.      Thus, the record reflects the Sheriff knew of potential

methods to reduce the inmate population. However, he only began to implement

those measures when the jail population reached 90 or 100 detainees, indicating that he

tolerated populations up to 1.56 times the 64-inmate capacity before taking action. A

reasonable juror could therefore conclude that the Sheriff unreasonably failed to

implement known measures to ameliorate overcrowding.

       Even if none of these actions or omissions, standing alone, could suffice to

demonstrate Defendants’ deliberate indifference to an excessive risk of inmate violence,

a reasonable juror could conclude the facts, taken as a whole in the light most favorable

to Plaintiffs with all reasonable inferences accorded thereto, demonstrate Defendants

unreasonably failed to take advantage of available options, short of building a new jail,

to decrease the alleged excessive risk of inmate violence.27 See LaMarca, 995 F.2d at

1538 (finding potential liability for a prison superintendent’s deliberate indifference

even though the superintendent made “good faith efforts to resolve the dilemmas

facing” the prison, because the superintendent nonetheless “recklessly disregarded

[other] necessary means to protect inmate safety.”); see also Marsh, 268 F.3d at 1029;

Gates, 501 F.2d at 1309; Williams, 547 F.2d at 1211. Although Defendants argue that



27
   A reasonable jury also could conclude Defendants demonstrated only negligence, not deliberate
indifference. But that determination must remain with the jury, depending upon the resolution of
disputed material facts.
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they could not be expected to implement the NIJO’s recommendations immediately

upon receipt of the report, the previously-discussed genuine issues of material fact

query whether they unreasonably delayed implementing certain measures in view of the

alleged, excessive risk of inmate violence at the facility.

       And, clearly established law gave Defendants fair notice that they would violate

Plaintiffs’ Fourteenth Amendment rights if they knew of, but failed to implement,

reasonable measures to address excessive risk of inmate violence.         See Hale, 50 F.3d

at 1584; LaMarca, 995 F.2d at 1536-38.              Thus, if a jury found Defendants

demonstrated deliberate indifference by failing to implement such measures, that

finding would represent a violation of clearly established law.

            3.       A genuine dispute of material facts exists regarding whether
                     the alleged deliberate indifference to a substantial risk of
                     serious harm caused Plaintiffs’ injuries

       Finally, Plaintiffs must sustain their summary judgment burden of demonstrating

Defendants’ deliberate indifference to a substantial risk of serious harm caused their

constitutional injuries. To do so, plaintiffs must provide evidence to support “two

causal links: first, a link between [Defendants’] allegedly deliberately indifferent acts and

omissions and the excessive risk of violence; and second, a link between the excessive

risk of violence and [their] injur[ies].” Hale, 530 F.3d at 1584 (citing LaMarca, 995 F.2d

at 1538).


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           If a plaintiff establishes a causal link between the defendant’s acts or
       omissions and the infirm condition, the defendant is precluded from
       contending that the unconstitutional condition was not at least a
       proximate cause of . . . injuries that arose from that condition. This is
       not to say that a plaintiff need not show a causal link between the
       constitutionally infirm condition and the alleged injuries. Rather, the
       finding that a prison condition offends the [Fourteenth] Amendment
       presupposes the distinct likelihood that the harm threatened will result.
       The wrong in [Fourteenth] Amendment cases is the deliberate
       indifference to a constitutionally infirm condition; that wrong must, in
       turn, have been the proximate cause of the plaintiffs’ injuries, here the
       injuries brought about by the assaults.

Hale, 530 F.3d at 1584 (quoting LaMarca, 995 F.2d at 1538) (quotation & citation

omitted).

       Plaintiffs provide evidence to support both causal links. First, disputed facts

resolved in Plaintiffs’ favor can establish a link between Defendants’ allegedly

deliberately indifferent acts and omissions and the excessive risk of inmate violence in

the Colbert County Jail. The following discussion from the Eleventh Circuit’s opinion

in Hale confirms such a link existed if facts resolve in Plaintiffs’ favor:

            Hale argues that without Smith’s failure to take meaningful action as
       described above, the infirm condition — the excessive risk of violence —
       would not have existed, and he would not have been beaten.
       In LaMarca, we considered the causal relationship between a prison
       official’s failure to improve prison safety and an excessive rate of violent,
       inmate-on-inmate, sexual assaults. We confirmed that “due to [their]
       very nature as acts of violence, the rapes that occurred are not isolated
       incidents of sexual conduct, but rather flow directly from these lawless
       prison conditions at GCI. . . . [These conditions created] the background
       and climate which . . . preordained homosexual rapes and other inmate
       assault[s].” Id. at 1539 (quotation omitted; ellipses & brackets in LaMarca).
       Because a “finding that a prison condition offends the [Fourteenth
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      Amendment presupposes the distinct likelihood that the harm threatened
      will result,” id. at 1538, we further held that “[t]he evidence thus permits
      a finding of a causal link between the objectively intolerable conditions at
      GCI and the plaintiffs’ injuries,” id. at 1539.

           As in LaMarca, Hale’s evidence is sufficient to support a reasonable
      jury determination that the excessive risk of violence flowed from an
      atmosphere of deliberate indifference reflected in Smith’s failure to
      classify or segregate violent from non-violent inmates, assign inmates to
      cells or beds, adequately train the jailers, and adequately supervise and
      monitor the inmates. As in LaMarca, a reasonable jury could find that
      the beating was caused by the excessive risk of harm which resulted from
      the atmosphere of deliberate indifference. Accordingly, Hale presented
      sufficient proof of causation to survive summary judgment.

Hale, 50 F.3d at 1584-85 (alterations and omissions in original).

      In the present cases, as in Hale and LaMarca, a genuine dispute of material fact

exists whether the alleged excessive risk of inmate violence flowed naturally and directly

from the alleged failure of Defendants to avail themselves of known, available measures

to improve overcrowding, segregation, discipline, staffing, monitoring, and training at

the jail. Defendants purportedly adopted measures recommended by the NIJO report

to address the documented concerns, albeit with disputed material facts as to when the

Defendants implemented them. The adoption of these measures reflects their utility

in addressing the problems noted by the NIJO report, and a reasonable jury could

determine it also signals Defendants’ implicit acknowledgement that the absence of

these measures caused the alleged excessive inmate violence at the jail.



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       Moreover, because this court’s finding that the disputed conditions at the Colbert

County Jail presented a substantial risk of serious harm from inmate attacks

presupposes the distinct likelihood that inmate-on-inmate attacks will result, a

reasonable factfinder may conclude that a causal link exists between the jail conditions

and Plaintiffs’ injuries.   That is, the disputed conditions in existence during the

applicable time period – May 2016 to April 2018 – allegedly created the “background

and climate” preordaining the alleged excessive risk of inmate violence. The alleged

circumstances thus would permit a finding of a causal link between the alleged

objectively intolerable conditions at the Colbert County Jail and the Plaintiffs’ injuries.

       Thus, the court finds Plaintiffs have presented a triable question regarding

whether a causal connection existed between the alleged deliberate indifference to a

substantial risk of excessive inmate assaults and the injuries Plaintiffs suffered.

       In summary, Plaintiffs have presented sufficient evidence from which a

reasonable juror could conclude that Defendants demonstrated deliberate indifference

to a substantial risk of serious harm from excessive inmate-on-inmate attacks, and that

such deliberate indifference caused their constitutional injuries.

       Finally, applicable Eleventh Circuit authority clearly established that an official’s

deliberate indifference to dangerous conditions causes an elevated risk of inmate

violence, and that an elevated risk of inmate violence causes any injuries a plaintiff

suffers as a result of such violence. See Hale, 530 F.3d at 158; LaMarca, 995 F.2d at
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1538-39. Thus, if a jury found Defendants demonstrated deliberate indifference by

failing to implement available measures to reduce an excessive risk of inmate violence,

clearly established law would dictate that Defendants’ deliberate indifference caused

Plaintiffs’ injuries.

       In summary, if a jury found Williamson, Bowling, and Rutland demonstrated

deliberate indifference to an excessive risk of inmate violence, that finding would

represent a violation of clearly established law. Therefore, qualified immunity does not

protect Williamson, Bowling, and Rutland from liability on Plaintiffs’ excessive inmate

violence claims at this juncture. The court will deny Defendants’ motion for summary

judgment in their favor on those claims.

III.   Plaintiffs Cannot Demonstrate Colbert County Displayed Deliberate
       Indifference Regarding its Statutory Duty to Maintain the Jail

       Plaintiffs assert Colbert County displayed deliberate indifference to the

“longstanding need for a jail that could safely house inmates.” (Doc. 93, at 65). A

local government can incur direct constitutional liability “due to its acts or omissions,”

but “only for acts for which the local government is actually responsible.” Marsh, 268

F.3d at 1027 (citations omitted).

       The Alabama Code defines the County’s duties regarding the jail. Each County

Commission within the state “shall be required to maintain a jail within their county.”

Ala. Code § 11-14-10. “The county jail must be of sufficient size and strength to

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contain and keep securely the prisoners which may be confined therein and must

contain at least two apartments, properly ventilated so as to secure the health of those

confined therein: One for men and one for women.” Ala. Code § 11-14-13. Another

Code section requires each jail to “be fireproof, properly ventilated, sufficiently lighted

by day and night, adequately heated and [to] contain adequate sanitary plumbing and

sewerage connections.”        Ala Code § 14-6-103.         “It is the duty of the county

commission, if there is not a sufficient jail in its county, to levy a county tax for the

erection thereof and cause proposals to be issued for building or repairing the same

within 12 months thereafter.” Ala. Code § 11-14-14.

       Thus, “the duty of the county to erect and maintain a county jail pertains

exclusively to the physical plant of the jail.” Turquitt v. Jefferson Cty., Ala., 137 F.3d 1285,

1290 (11th Cir. 1998). “The duty to ‘maintain a jail’ under § 11-14-10 is merely the duty

to keep the ‘jail and all equipment therein in a state of repair and to preserve it from

failure or decline.’” Id. (quoting Keeton v. Fayette County, 558 So. 2d 884, 886 (Ala.

1989)). The County has “no responsibility for daily operation of county jails and no

authority to dictate how jails are run.” Marsh, 268 F.3d at 1027; see also Turquitt, 137

F.3d at 1289 (“[N]one of [the county’s] duties relates to the daily operation of the jails

or to the supervision of inmates.”). As the County only has a duty to erect and

maintain the jail, it can incur Fourteenth Amendment liability only “if its failure to


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maintain the Jail constituted deliberate indifference to a substantial risk of serious harm

to the prisoners.” Marsh, 268 F.3d at 1027.

       Plaintiffs do not appear to argue that the County failed to allocate sufficient

funds to maintain the existing jail facility at an adequate level.28 Rather, they claim the

existing facility is not “of sufficient size and strength,” and they argue that the County

could meet the challenges in inmate housing, segregation, and monitoring and its

constitutional obligation to maintain inmate safety only by constructing a new jail.

Plaintiffs assert that County officials

       have known for decades that the jail was unable to safely house the inmate
       population for numerous reasons and that a new jail was necessary due to
       the security issues presented by, among other things, overcrowding, the
       open barrack housing, the lack of segregation cells, and the limited []ability
       of jailers to monitor inmates.

(Doc. 93, at 12). According to Plaintiffs, those deficiencies “directly affected [the

Sheriff’s] ability to control inmate-on-inmate violence.” (Id. at 66).29


28
   If Plaintiffs did present such an argument, the evidence does not support it. The uncontroverted
evidence demonstrates the County’s maintenance department prioritizes jail maintenance tasks over
other maintenance tasks, and the department recently performed such tasks as remodeling the
elevator, shower, and dispatch areas of the jail; painting the entire facility; and installing new HVAC
systems. The County Commission also has increased the jail’s funding each year, enabling additional
jailer positions (at least beyond the period of time challenged by Plaintiffs), increased jailer pay,
additional supplies, and repairs. The Sheriff’s Office and jail operations budgets comprise
approximately 40% of the county’s total expenditures, which equates to approximately 48% after
factoring out earmarked expenditures.
29
  As Plaintiffs focus upon the construction of a new jail facility, not the adequacy of the County’s
expenditures to maintain the current facility, the opinion of Defendants’ expert that the County’s
increase of funding to the jail demonstrates the County’s lack of deliberate indifference does not bear
relevance on this inquiry.
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       However, the jail’s inadequacies only implicate the Fourteenth Amendment if

those inadequacies actually resulted in a substantial risk of serious harm to Plaintiffs,

and if the County’s deliberate indifference to that risk caused Plaintiffs’ injuries. See

Goodman, 718 F.3d at 1331 (citation omitted) (a deliberate indifference claim requires

proof of “‘(1) a substantial risk of serious harm; (2) the defendants’ deliberate

indifference to that risk; and (3) causation.’”).

       As discussed, Plaintiffs have presented a triable issue regarding whether they

suffered a substantial risk of inmate violence due to conditions at the Colbert County

Jail. In addition, a reasonable juror could conclude the small size of the jail facility

increased that risk because it limited officers’ options for discipline and inmate

segregation.

       However, Plaintiffs cannot demonstrate the County displayed deliberate

indifference to the substantial risk of serious harm. Even if Plaintiffs could establish

the County subjectively knew of a substantial risk of serious inmate harm, they cannot

establish the County disregarded that risk by failing to respond to it in an objectively

reasonable manner.

       The County has formed committees to explore options for constructing a new

jail, and it has even obtained building cost estimates, indicating the County has devoted

attention to the need for a new jail facility. However, the County’s efforts have never

borne fruit because political circumstances beyond the County’s control have prevented
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the County from obtaining the funds necessary for construction. The County lacks

the $20,000,000 or more to cover building cost estimates, so it must obtain the funds

by levying a tax. Unfortunately, the County lacks the power to levy such a tax without

first convincing the local delegation of the Alabama legislature to propose an act, then

obtaining an such act from the Alabama legislature, and then obtaining the approval of

a majority of voters. The political will has not yet existed either within the local

legislative delegation, or within the local community, to support such a proposal.

       As discussed, the County cannot face liability for deliberate indifference if it

failed to take an action beyond its control. See Marsh, 268 F.3d at 1027. Due to the

structure of this State’s system for effecting taxation, the Alabama legislature and the

voting public – not the Colbert County Commission – control whether Colbert County

will build a new jail facility.

       Plaintiffs rely upon the Eleventh Circuit’s decision in Moore v. Morgan, 922 F.2d

1553 (11th Cir. 1991) for their entreaty. In Moore, the Plaintiff sued the Chambers

County Sheriff and County Commissioners for unconstitutional jail conditions “due to

overcrowding and other factors.” Id. at 1555. The plaintiff did not establish a

deliberate indifference claim, but he did establish an Eighth Amendment cruel and

unusual punishment claim. As the district court found, “[n]o one can seriously argue

that the Chambers County Jail was not unconstitutionally overcrowded while the

plaintiff was there,” and the effects of overcrowding compounded because inmates
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never left their cells. Id. at 1555 n.1. The Eleventh Circuit’s opinion addressed

whether the violations resulted from the County’s custom or policy of failing to

appropriately maintain the jail. The Court found:

             In this case, faced with the duty of maintaining the county jail,
      Chambers County failed to satisfy its constitutional responsibility. In
      1982, when the Chambers County jail began to become overcrowded, the
      sheriff and the county commissioners discussed ways to solve the space
      problem. The county authorized a study to explore the possibility of
      constructing a new jail, but took no action at that time. In August, 1986,
      the sheriff again approached the county commission and requested that
      the county take action on funding a new jail. The commissioners
      authorized a straw vote to be placed on the November 5, 1986 ballot. By
      this vote, the citizens chose to construct a new jail and to finance it
      through the use of a one-cent sales tax. The commissioners then asked
      the state legislative delegation to introduce legislation for a binding
      referendum on the jail and the new jail funding issue, but the delegation
      did not do so. The Chambers County legislative delegation informed the
      county commission that it would not introduce any legislation authorizing
      the county to levy a new tax unless the voters approved it in advance by
      referendum.      On March 8, 1988, by referendum, the voters
      overwhelmingly rejected the proposal to levy a tax to build a new jail.

              After Moore brought this case against the county, however, the
      commissioners bought a facility to house 25 inmates, authorized the hiring
      of 4 jailers, and by cutting funding from other county agencies provided
      funds to construct a new jail facility with 100 to 200 beds. Construction
      of a new jail was ultimately financed by a bond issue to be retired by
      legislatively-enacted tangible personal property rental taxes, excise taxes,
      and assessments to costs in criminal court cases. The ways in which the
      commissioners actually obtained the money to finance the necessary jail
      improvements, when put under the threat of litigation, provides
      compelling evidence of the fact that the commissioners could have taken
      steps to improve the jail at a much earlier date. The commissioners’
      policy of delayed action, and the unconstitutional conditions in the jail that
      resulted, render the commissioners liable in their official capacities, and

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       consequently the county, liable. Monell[ v. Dep’t of Soc. Servs. of City of New
       York], 436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).

Moore, 922 F.2d at 1556-57 (footnote omitted).

       In the present case, there exists no evidence that Colbert County raised or

allocated funds for construction outside the described procedure for levying a special

tax when faced with the threat of litigation or at any other time. Thus, the evidence

does not indicate that the County failed to take advantage of available, alternative

methods for bringing the jail facility into Constitutional compliance, and Moore does not

provide a basis for holding the County liable for deliberate indifference.

       Plaintiffs also argue that insufficient funding cannot excuse the County’s failure

to construct a Constitutionally adequate jail. Indeed, “lack of funds for facilities does

not justify the maintenance of unconstitutional jail conditions.” Moore, 922 F.2d at

1557 n.4 (citing Anderson v. City of Atlanta, 778 F.2d 678, 688 n. 14 (11th Cir. 1985); Smith

v. Sullivan, 611 F.2d 1039, 1043-44 (5th Cir. 1980)). As discussed, when an official cites

lacks of funds as a factor contributing to a dangerous condition, the plaintiff will still

prevail if he can “demonstrate[] that a particular defendant [nevertheless] had the

capability (authority and means) to provide adequate security and did not do

so.” LaMarca, 995 F.2d at 1537 (citing Williams, 689 F.2d at 1389).

       Here, there exists no evidence that the County possessed the ability, absent a

legislative act, to raise the funds to construct an adequate jail facility. For example, the

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evidence does not indicate that the County has chosen to prioritize road maintenance

or waste disposal over the needs of the jail. Rather, no matter how the County

allocated its current funding, it could not afford a new jail, and it can only increase the

available funding by levying a new tax, which requires political will the County

Commission neither possesses nor controls.

       In summary, Plaintiffs cannot establish the requirements of a deliberate

indifference claim because they cannot demonstrate the County deliberately turned a

blind eye to the risk they would suffer serious harm.

                           CONCLUSION AND ORDERS

       For the reasons stated herein, the court GRANTS Defendants’ motion for

summary judgment as to Defendant Heath Halcomb, and as to Defendant Marcus

Rutland, in his capacity as a jailer.

       The court also GRANTS Defendants’ motion for summary judgment as to all

of Plaintiffs’ claims for injunctive and declaratory relief.

       Due to genuine disputes of material fact as chronicled herein, and the

consideration that a reasonable factfinder at trial may find in Plaintiffs’ favor if those

disputes resolve in their favor, the court DENIES Defendants Williamson, Rutland (in

his capacity as Jail Administrator), and Bowling’s motion for summary judgment as to

qualified immunity on Plaintiffs’ claim for deliberate indifference to excessive inmate

violence.
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 However, as the evidence does not support Plaintiffs’ claims for deliberate

indifference against Colbert County, the court GRANTS Defendants’ motion for

summary judgment as to Colbert County.

      DONE and ORDERED this 30th day of September, 2021.



                                               ____________________________________
                                               HERMAN N. JOHNSON, JR.
                                               UNITED STATES MAGISTRATE JUDGE




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